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IN THE UNITED STATES DISTRICT COURT wEn a oS :

FOR THE DISTRICT OF NEW MEXICO ‘ : Lo
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Case No. CIV 94 892 JC

 

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CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

  

Plaintiffs,
Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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PLAINTIFF CARL WILSON’S MEMORANDUM OF LAW IN RESPONSE
TO HARPERCOLLINS’ MOTION FOR SUMMARY JUDGMENT

 

ORAL ARGUMENT REQUESTED

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I. PRELIMINARY STATEMENT

HarperCollins’s Motion for Summary Judgment is based on a
rejected doctrine of "libel-proof" plaintiff and a distorted
application of the doctrine of "substantial truth." Nowhere are
HarperCollins’ distortions more apparent than in the arguments
about Carl Wilson’s use of drugs and the statements concerning
Carl Wilson’s actions with respect to his brother, Brian.

Carl Wilson, as a musician in the ’60’s and '70’s, having
fallen prey to drugs, has reformed his life and for years has not
used drugs. Is Carl Wilson now condemned to suffer the lies
printed by HarperCollins without redress? HarperCollins argues
yes, invoking in substance (although not by name) the "libel
proof" plaintiff doctrine which the United States Supreme Court
and the Ninth Circuit have squarely rejected under both First
Amendment considerations and state law (California). Masson v.
New Yorker Magazine, Inc., 501 U.S. 496, 523 (1991), on remand,
Masson v. New Yorker, 960 F.2d 896, 898-899 (9th Cir. 1991).

Carl Wilson has also spent considerable effort and
substantial money over the years in trying to help his brother,
Brian. HarperCollins now accuses Carl of providing his troubled
brother, Brian, with heroin. HarperCollins bases its accusations
on a misleading transcript of what may well be a doctored tape
recording.

Using this questionable evidence, HarperCollins asserts the
"substantial truth" doctrine, but HarperCollins incorrectly

explains and misapplies the doctrine. Despite HarperCollins

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unfounded assertions of "substantial truth," Plaintiff has made
out a prima facie case of falsity and HarperCollins has not
established its truth defense.
II. DISCUSSION OF APPLICABLE LAW

A. The Substantial Truth Doctrine

HarperCollins is correct that a public figure plaintiff such
as Carl Wilson has the burden of proving falsity, as a prima
facie element of his claim. Philadelphia Newspapers v. Hepps,
475 U.S. 767 (1986). HarperCollins is also correct that the
common law doctrine of substantial truth applies, such that
"minor inaccuracies do not amount to falsity so long as ‘the
substance, the gist, the sting of the libellous charge be
justified.’" Masson v. New Yorker Magazine, Inc., 501 U.S. 496,
517 (1991). However, this is only a partial explanation. As the
United States Supreme Court went on to explain in Masson, under
the substantial truth doctrine, which is a creature of common
law, the "statement is not considered false unless it ‘would have
a different effect on the mind of the average reader’ from that
which the pleaded truth would have produced." Masson, 501 U.S. at
517. The fact that burden of proving falsity is upon Plaintiff
as public figure does not change this:

"The essence of that inquiry remains the same whether
the burden rests upon plaintiff or defendant."

Masson, 501 U.S. at 517.
In other words, when the published statements convey meaning

to the reader different than the gist of the actual truth, then

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those statements are not substantially true. For example, in
Kurz v. Evening News Assn., 453 N.W. 2d 309 (Mich. Ct. App.
1990), the article truthfully reported the fact of the
plaintiff’s arrest on charges of assaulting a police officer with
a shotgun, but according to the plaintiff’s allegations, falsely
stated that the plaintiff had threatened to kill someone and fire
a shot. The trial court granted summary judgment in favor of the
defendant newspaper, and the Court of Appeal reversed, because
there was a factual dispute as to whether the plaintiff had ever
threatened to kill anyone or in fact had fired his weapon:

Given the tenor of the entire article, we cannot say as

a matter of law that this possible inaccuracy

constitutes an ’inaccuracy that does not alter the

complexion of the affair and would have no different

effect on the reader than that which the literal truth

would produce.’
Kurz, 453 N.W. 2d at 310.

In this case, the substantial truth doctrine provides no
shelter to Defendant -- the claims of falsity are not based on
"insignificant inaccuracies of expression." N.M. U.J.I. 13-1006
(defining falsity: "One or more statements of fact in the
communication must be false in a material way. Insignificant
inaccuracies of expression are not sufficient.") For example,
with regard to the alleged defamatory passage regarding the
providing of heroin to Brian Wilson, the fact that Carl Wilson
may have, during that period, himself used some kind of drugs,

does not preclude the falsity of the charge that he supplied his

brother, Brian, with heroin. It cannot be said, as a matter of

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law, that the false charge of supplying Brian with heroin has no
different effect on the mind of the average reader than the truth
of the fact that Carl may have used some kind of drugs during
that period of time. The law recognizes that a communication can
have multiple defamatory meanings. See N.M.U.J.I. ("Falsity:
Defined. To support a claim for defamation the communication
must be false. OQne or more statements of fact in the
communication must be false in a material way. Insignificant
inaccuracies of expression are not sufficient.")

Turning to the effect upon the reader, the question is: Can
a man’s reputation be affected by a charge that he supplied his
unstable brother with heroin? Plaintiff submits that the
question is easily answered with a resounding, "yes." A man’s
reputation is adversely affected by allegations that he
criminally provided heroin to his suffering brother, as opposed
to protecting his brother from harm. Turning to the other
defamatory passages, would the reader have a different impression
of a man who looks out for his brother as opposed who one who
takes advantage of him; one who pushes his brother to write songs
and produce albums although his brother is mentally and
physically ill; a man who protests his brother’s use of the
recording studio in therapy treatment because the group is
supposedly missing out on studio rental income; one who tricks
his brother into signing a trust agreement controlling all of his
money? The defamatory passages clearly present a picture of Carl

Wilson as a man who provided his brother with heroin and who was

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callous and uncaring in relation to his brother’s physical and
mental suffering. In fact, just the opposite is true. Carl
Wilson did not provide his brother with heroin, he flushed it
down the toilet so his brother would not get it. Carl Wilson was
not callous towards his brother’s suffering, but instead spent
substantial amounts of time and money in an effort to help his
brother and get him the care he needed.

The substantial truth doctrine works both ways. Certainly
it protects the defendant who gets minor details wrong, but is
correct as to the gist of the statements. However, the rule also
allows for the imposition of liability where the publication
selectively reports some details, some of which may be correct,
but reports them in a manner which nonetheless communicates a
defamatory gist, either by the juxtaposition of the facts or by
omitting materials facts, or both. "[T]he language said to be
libellous is to be given its plain and natural meaning and to be
viewed by the court as people reading it would ordinarily
understand and give it meaning." Reed v. Melnick, 81 N.M. 608,
610 (1970), citing with approval Justice Traynor’s decision in
the oft-cited California Supreme Court case MacLeod v. Tribune
Publishing Co., 52 Cal. 2d 536 (1959), relating to protected
opinion in Marchiondo v. Brown, 98 N.M. 394, 404 (1982). The law
also allows a libel action where "the defamatory meaning is clear
from the explanatory circumstances in the remainder of the book.
See Marchiondo v. New Mexico State Tribune Co., 98 N.M. 282, 287

(Ct. App. 1981)." Judge Conway’s Letter Opinion dated July 14,

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1995 denying HarperCollins’ initial Motion to Dismiss (which was
converted into a motion for summary judgment).

The issue of defamation arising from the omission of
material facts is in accord with New Mexico libel rules and has

been expressly considered and approved in other jurisdictions.

As the court’s holding in Memphis Publishing Co. v. Nichols, 569
S.W. 2d 412 (Tenn. 1978) illustrates, the test for defamation by
material omission incorporates the thrust of the substantial
truth inquiry - the disparity in the effect upon the reader of a
truthful account as compared to the published account:

"In our opinion, the defendant’s reliance upon the
[literal] truth of the facts stated in the article in
question [--that the shooting occurred at Plaintiff’s
home when the shooter’s husband was with Plaintiff--]
is misplaced. The proper questions is whether the
meaning reasonably conveyed by the published words is
defamatory, ‘whether the libel as published would have
a different effect on the mind of the reader from that
which the pleaded truth would have produced.’
Fleckenstein v. Friedman, 266 N.Y. 19, 23, 193 N.E.
538, 539 (1934). See Lawlor v. Gallagher Presidents
Report, Inc. 394 F. Supp. 721 (S.D.N.Y¥. 1975). The
publication of the complete facts [-- that neighbors
were present at Plaintiff’s house when the shooting
occurred--]} could not conceivably have led the reader
to conclude that Mrs. Nichols and Mr. Newton had an
adulterous relationship. The published statement,
therefore, so distorted the truth as to make the entire
article false and defamatory."

Memphis Publishing Co., 569 S.W.2d at 420 (emphasis added). The

fact that in Memphis v. Nichols the burden of proving falsity was
entirely on the defendant (in that falsity was presumed and truth
was a defense, as still is the case in private figure cases where
the defamation is not a matter of public concern, under Dun &

Bradstreet, infra), is not a decisive difference. As already

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noted, the shifting of the burden of proof of falsity in cases
involving public figures against media defendants, does not
affect the significance which implications and material omissions
of fact have in creating actionable defamation. See, Masson, 501
U.S. at 517 (explaining that the essence of the "substantial
truth" inquiry "remains the same whether the burden rests upon
the plaintiff or defendant"). Also instructive is the recent
decision of the Mississippi Supreme Court in McCullough v. Cook,
679 So.2d 627 (1996), which reversed the trial court’s grant of
summary judgment in favor of the defendant on the issue of
truth/falsity:

This is a situation where certain material facts were

omitted and that omission made the statement defamatory

or at least rose to the level where reasonable minds

could differ. More importantly, the omitted facts were

the truth. The trial court erred on this issue.
Id. at 633.

See also, Golden Bear Distributing v. Chase Revel, 708 F.2d
944 (5th Cir. 1983). There, the Court rejected the defendant’s
argument that the statements sued upon were not actionable
defamation; the court found that the juxtaposition of truthful
statements about the Plaintiff’s activities, with truthful
statements about another’s fraudulent activities, allowed "an
ordinary reader to infer" that the plaintiff had engaged in
illegal action too. With respect to the defendant’s assertion of
truth as a defense, the Court held:

‘Although the truth of an alleged libel may be proven

as a complete defense, it is not a defense to show that
a statement contained in a publication, if taken alone,

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is literally true, when other facts are omitted which
plainly refute the false impression of the partial
statement. A statement is not true or even
substantially true if, by implication, an entirely
untrue impression is made by omission of part of the

facts.’ [Express Publishing Co. v. Gonzalez, 350 S.W.
2d 589, 592 (Tex. Civ. App. 1961)}. We hold that the

assertion of truth as a defense here must fail.

Golden Bear, 708 F.2d at 949 (emphasis added).

Also instructive is the Ninth Circuit’s decision in Church

of Scientology v. Flynn, 744 F.2d 694, 695 (9th Cir. 1984):

Although Flynn did not specifically accuse CSC of
attempting to cause his death, it would be reasonable
to imply a defamatory meaning from his remarks. It is
well settled that the "arrangements and phrasing of
apparently nonlibellous statements" cannot hide the
existence of a defamatory meaning. Kapellas v. Kofman,
[1 Cal. 3d 20, 33, 459 P.2d 912, 919-920 (1969)]}.
Indeed, the meaning of a statement is often dependent
upon its context.

744 F.2d at 696.

Although HarperCollins’ motion does not set forth these

principles, the motion attempts to dissuade the Court from

applying them with the argument that "’defamation by implication’

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are disfavored by New Mexico Courts and elsewhere in view
serious First Amendment concerns in holding defendants
for statements they did not make. See HarperCollins’
Indeed, a growing number of jurisdictions have adopted a

rule that there can be no defamation by implication."

HarperCollins’ Memorandum of Law, p. 26. These assertions

deserve scrutiny. A fair examination of the cases shows that

there is no legal bar against the type of claims asserted here.

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The New Mexico case which Harpercollins’ cites, Andrews v.
Stallings, 119 N.M. 478, 486 (Ct. App. 1995), disapproves of such
a claim against public officials on matters of public concern.
The cases HarperCollins cites from other jurisdictions where the
Courts have rejected defamation by implication (see HarperCollins
FN 12), also rejected such claims for public officials. In
Diesen v. Hessberg, 455 N.W. 2d 446 (Minn. 1990), cert. denied,
498 U.S. 1119 (1991), which itself cites the cases HarperCollins
cites, the court explained why a special rule for public
officials exists:

Other jurisdictions have also specifically declined to
allow a public official to prove falsity by implication
where the [exact] challenged statements are true. See,
e.g. Cibenko v. Worth Publishers, Inc., 510 F. Supp.
761, 765 (D.N.J. 1981); Pietrafeso v. D.P.I., Inc., 757
P.2d 1113, 1115-1116 (Colo. Ct. App. 1988): Strada [v.

Connecticut Newspapers, Inc.,] 193 Conn. [313] at 326,
477 A.2d [1005] at 1012 [(Conn. 1984)]; Schaefer v.

Lynch, 406 So.2d 185, 188 (La. 1981). We concur,
believing the subject articles fall within the
protected purview as described by the Janklow court:

Speech about government and its officials, about how

well or badly they carry out their duties, lies at the
very heart of the First Amendment * * *. It is vital

to our form of government that press and citizens alike
be free to discuss and, if they see fit, impugn the
motives of public officials. [Janklow,] 788 F.2d at
1304-1305 (citations and footnotes omitted).

Diesen, 455 N.W. 2a at 451 (emphasis added) .?

 

 

1 It is also noteworthy that in Diesden, the Minnesota
Supreme court did not overrule the holding of Phipps v. Clark Oil
& Refining Corp., 396 N.W.2d 588 (Minn. Ct. App. 1986): "Truth

is a defense to defamation only when the underlying implication
of the statement is true, not merely when the statement is
verbally accurate." Phipps, 396 N.W.2d at 594.

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As to cases involving public figures and private figures (as
opposed to public officials), the special concern to which
HarperCollins alludes -~ quoting Chapin v. Knight-Ridder, 993
F.2d 1087, 1092-93 (4th Cir. 1993) as to the need for an
“especially rigorous showing where the expressed facts are
literally true" -- does not present a bar here. As the Chapin
court went on to explain, the "rigorous showing" means simply
that "[t]he language must not only be reasonably read to impart
the false innuendo, but it must also affirmatively suggest that
the author intends to endorse the inference," which is a standard
easily met in this case. Chapin, 993 at 1093 (citing White v.
Fraternal Order of Police, 909 F.2d 512, 520 (D.C. Cir. 1990)).
Sassone v. Elder, 626 So. 2d 345, 354 (La. 1993), also cited by
HarperCollins, expresses concern about a publication giving rise
to an infinite number of interpretations, which is not an issue
here.

This Court should resist what, in reality, is HarperCollins’
invitation to eliminate the New Mexico libel per quod rule as to
all but private figure plaintiffs. HarperCollins opposes the
same libel per quod rule which this Court endorsed and applied in
denying HarperCollins’ initial motion to dismiss the second cause
of action (which motion was converted into a motion for summary
judgment). Libel per quod consists of written expressions which
although not actionable on their face are either (1) susceptible
of two reasonable interpretations, one of which is defamatory,

and one of which is innocent, or (2) statements which are not on

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their face actionable defamatory statements, but become so when
considered in connection with innuendo and explanatory
circumstances. Marchiondo v. N.M. State Tribune Co., 98 N.M. 282
(Ct. App. 1981). The law of Colorado, the residence of Carl
Wilson, is in accord. Sunward Corp. v. Dun & Bradstreet, Inc.,
811 F.2d 511, 517 n. 3 (10th Cir. 1987) (applying Colorado law);
Keohane v. Stewart, 882 P.2d 1293 (Colo. 1994), cert. denied, 130
L. Ed. 2d 882 (1995).

Justice is not served by a rule that is oblivious to truth.
In this case the defamatory implication is clearly suggested to
the ordinary reader, in the passages concerning Carl Wilson’s
actions vis-a-vis the Brian Wilson 1982 Trust, the passages
portraying Carl Wilson as a callous brother who made statements
in opposition to Brian’s need for treatment and rest, and the
passages portraying Carl Wilson as the brother who exploited
Brian as a pop music "hit machine" for the Beach Boys.

HarperCollins’ has presented no evidence in the form of
declarations with respect to the falsity of any passage (other
than the passage suggesting that Carl Wilson supplied heroin to
his brother). A fair reading of the Carl Wilson deposition
testimony cited by HarperCollins not only fails to make out a
case for truth, but in some instances, demonstrates that
HarperCollins has taken a large degree of leeway in presenting
the testimony out of context or by turning a blind eye to

testimony that clearly shows falsity. This is especially true

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concerning the passages reporting Carl Wilson’s statements to

Eugene Landy about the cost of engaging him to treat Brian.

III. PLAINTIFF’S RESPONSE AS TO EACH PASSAGE

Although HarperCollins purports to discuss why each
defamatory passage is not actionable defamation, there are three
substantive defects in HarperCollins’ arguments. First, when
arguing for dismissal on truth and falsity grounds -- which
Harpercollins argues for with respect to some, but not all, of
the passages -- the motion selectively addresses the defamatory
factual assertions in each passage. By selectively choosing
amongst the gists or stings of the defamatory passages,
HarperCollins fails to dispute the falsity of matters whose truth
would produce a different effect upon the reader. As
demonstrated above, that is a central inquiry of the substantial
truth doctrine which HarperCollins misapplies.

Second, the motion argues that passages from the third cause
of action for libel are not actionable because they discuss the
conduct of various members of the Beach Boys, but the motion
turns a blind eye to the many ways that the passages also refer
to Carl Wilson. Thus, HarperCollins’ arguments that the passages
from the third cause of action fail to satisfy the "of and
concerning" element, are fatally defective.

Third, HarperCollins’ argument that some of the passages
constitute protected opinion, suffers from the same

misapplication of law that characterized HarperCollins’ initial

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assertion of the fact/opinion argument in its motion to dismiss
the second cause of action (which the Court converted into a
motion for summary judgment and denied). HarperCollins’ opinion
argument fails because the passages contain factual assertions as
to what Carl Wilson said and did. The passages are provably
false statements of fact by virtue of Plaintiffs’ allegation that
he did not make the statements asserted, or, in the case of the
passages concerning the Brian Wilson Trust of 1982, by proof of
the material facts omitted from the text. (The Book completely
omits the role of Brian Wilson’s lawyer, John Branca, in
suggesting, setting up and administering what was a revocable
trust. The result of these egregious omissions is that Carl is
presented as the overreaching brother who used trickery to obtain
Brian’s money. These defamatory passages are presented to the
Court and examined in more detail below.)

A. The First Passage From The Second Cause Of

Action (p. 98 of the Book)

The first passage sued on in the Second Cause of Action
purports to accurately describe a brawl. The passage falsely
communicates to the reader that Carl Wilson was involved in the
brawl and exchanged punches, when in truth and in fact Plaintiff
did not engage in any physical violence, either punches or
otherwise. (Carl Wilson Depo. p. 539-541, Ins. 13-9; Declaration
of Carl Wilson, § 4 attached as Exhibit 3 hereto).

The passage quoted in the Second Amended Complaint is as

follows:

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"One night, Dennis, Carl, and I were drunkenly walking

through the red light district in Amsterdam, heading

for a restaurant while Dennis tried talking me into

sampling one of the local girls. ...the piano bench

was knocked over, punches were exchanged and before I

knew it Carl and Dennis were dragging me out the front

door and hustling me back to the hotel."
[Book, p. 98; Second Amended Complaint 4 19, p. 7, attached as
Exhibit 1 hereto.] Defendant’s truth/falsity argument focuses
solely on whether Carl Wilson drank alcohol at that period of
time-- which Plaintiff does not dispute -- and completely fails
to address the alleged false allegation that Carl Wilson was
involved in a brawl. Thus, summary judgment is properly denied
as to this passage.

B. The Second Passage Plaintiff Sued Upon, From

p. 98 of the Book

The next passage sued upon falsely portrays Carl Wilson as
admitting his involvement in the supply of the highly addictive
and dangerous drug of heroin to his already troubled brother,
Brian Wilson (who is represented to readers as the author of the
Book):

"Dennis smuggled Heroin into New Zealand...Carl,

trying to calm the turbulence by admitting his

involvement in the purchase of the heroin, ended up

getting punched in the face by Rocky."
[Book, p. 252; Second Amended Complaint ¢ 19, p. 7, attached
hereto as Exhibit 1.] This passage falsely accuses Carl Wilson
of knowingly providing his already troubled brother, Brian

Wilson, with heroin. There is nothing relating to substantial

truth in this passage. Carl Wilson not only did not provide his

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brother with heroin, but intercepted the heroin that was intended
for his brother and flushed it down the toilet. Carl Wilson
Decl. § 3, attached as Exhibit 3.

Harpercollins’ effort to invoke the substantial truth
doctrine fails because the evidence of truth HarperCollins
presents (an asserted tape recording of an interview Carl Wilson
gave Australian reporter Anthony O’Grady in 1978), does not
establish the truth of that defamatory sting. While the
transcript prepared by Harpercollins quotes Carl Wilson ina
manner that suggests he bought heroin, the transcript goes on to
also quote Plaintiff as stating that he flushed the heroin he got
down the toilet, and that he was falsely accused at the meeting
of being involved in the supply of heroin to Brian.
(HarperCollins’ Exhibits E & F).2 Although Plaintiff has, for
many years, lead an exemplary life and looks back on that period
of his life with regret, he did not supply his brother with

heroin. Plaintiff apologizes to the Court for the profanity set

 

2 On the transcript Plaintiff is quoted as stating: "So
the deal was I got totally framed and there was a whole thing
where . . . I said I had nothing to explain or defend because I
didn’t do anything with anyone and. . . I had it in my pocket. .
. I took it up the stairs, in the elevator and I flushed it down
the toilet. But I got attacked just the same, ya know. So ah,
as you can imagine. . . anyway. . . you’ll write it anyway won’t
you. . .Ha ha. O’Grady [the interview}: If I can decipher it."

The ellipses are in the original, and indicate
undecipherable speech, as confirmed by 0’Grady’s sworn statement
that the transcript "accurately transcribes the conversation
between Mr. Wilson and me, including the statement, questions,
and answers made by each of us, and as confirmed by tape analysis
expert Norman Perle (Perle Decl. attached hereto as Exhibit 4 and
discussed infra).

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forth in this brief in order to show that HarperCollins’
substantial truth argument fails.

Moreover, there is a disputed fact issue as to even buying
heroin. Carl Wilson’s testimony at deposition is that he did not
buy that heroin, but that it was handed to him in an envelope
which he suspected was heroin and that he flushed it down the
toilet. [Carl Wilson Depo., p. 455, lns. 17-19; confirmed in the
Declaration of Carl Wilson, ¢ 3]. The transcript HarperCollins
prepared and represents to be a complete account, shows ellipses
around the "buy" language, indicating undecipherable text, and
the tape is difficult to understand. Moreover, an expert on

matters of recorded evidence, who analyzed the tape copy served

on Plaintiffs concludes that the tape copy "exhibits significant

and multiple suspicious areas" and "was likely an edited version

of some events." [Declaration of Norman I. Perle, p. 3, lines
18-21, attached as Exhibit 4 hereto.] The expert’s analysis,
which included a "computer waveform analysis, spectrographic
chart analysis, FFT spectrum frequency analysis and a critical
aural review of the audio" (p. 3, lines 10-1, see also p. 4, line
19-22), further found that "because of the type and quantity of
signs suggestive of falsification, the context of the words as
heard, are likely not [to] be the way they were spoken." [p. 4,
lines 4-6, emphasis added].

Summary judgment as to what HarperCollins refers to as the

heroin passage should be denied.

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c. The Third Passage At Issue, From pp. 273-275 of the
Book

These statements purport to accurately describe the
engagement of Landy to once again treat Brian Wilson. The
statements falsely ascribe statements to Carl Wilson in a meeting
with Landy to the effect that Carl was concerned with the cost of
the treatment, and not his brother Brian’s health. Plaintiff
unequivocally denies having made these statements:

"Within a week, Carl was in Dr. Landy’s office, asking

how much the treatment would cost. ...Dr. Landy

explained himself clearly, knowing Carl was going to

take the information he got from the meeting and tell

Marilyn, who helped him through the dissolution of his

marriage and now was providing him comfort in dealing

with me. ...Carl never liked Dr. Landy’s bluntness and

was scared of him...Carl and Al complained Dr. Landy’s

fees were outrageous...[and at a subsequent meeting]

predictably, the first thing they wanted to discuss

wasn’t my health, it was Dr. Landy’s fee."
[Book, pp. 273-275; Second Amended Complaint § 19, p. 8, attached
hereto as Exhibit 1.] Carl Wilson’s deposition testimony on the
subject is that a meeting did occur between himself, Jerry
Schilling [Carl Wilson’s manager at the time] and Landy; that the
meeting occurred after Landy sent a letter suggesting that he
treat Brian again (and that at the meeting Landy told him that
his fees had gone up and that it would take 12 to 16 months, and
800-900 thousand dollars would be the cost of treatment.
HarperCollins asserts that the sued upon passages are true by
selectively quoting Carl Wilson’s testimony on his thoughts as to

fees, focusing on his testimony that he thought Landy was

overpriced, given his level of training as a psychologist, while

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completely ignoring his testimony that money was not a concern
because Carl’s concern for Brian’s health was paramount:

"I knew that he was overpriced at the first

level of training as a psychologist, and yet

I thought Brian was worth way more than any

cost of any program. Money was not a

concern."
[Carl Wilson depo., p. 731, lns. 11-14, attached hereto as
Exhibit 2].

See also, his testimony:

Q: Did you find, putting expenses to one side,
did you find Dr. Landy’s fees within reason?
A: My understanding was that it was going to be,

when they - yes. My understanding was that his fees
would be $800,000.

Q: For what period of time?

A: For twelve months. Eight to nine hundred
thousand dollars, 12 to 18 months.

Q And you found that fee to be reasonable?

A: I didn’t really -- I don’t know, I thought
that’s just what the fee was going to be.

Q: Did you express to anyone at the time you
learned what the fee would be whether you thought it
was low, high, just right, or something else?

A: I thought it was worth saving Brian’s life, I
wasn’t concerned about the. Brian could well afford
it.

Q: Had you ever experienced medical or other
counseling fees in a range of that magnitude
personally?

A: No.

Q: Anyone else in your family?

A: No.

Q: Were you in any way shocked by those fees?

A: No. Mark [Meador] told Jerry Schilling that
Gene’s fees had gone up. He called it the time of
Jerry’s and I first meeting and it was said, "You know,
his fees have gone up to six dollars a minute.

Q: And your reaction was, just fine with me?

A: There wasn’t anything to react to. It was
just, we were desperate to save Brian’s life.

[Carl Wilson Depo., pp. 659-660, lns. 6-17, attached hereto as

Exhibit 2].

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This evidence unequivocally refutes the text’s assertion

that Carl Wilson made statements protesting the cost of treatment
and being concerned with the cost over and above what Plaintiff
submits the jury will agree should have been concern for his
brother’s life. The passage sued on makes factual allegations;
either the meeting occurred as it was described, or it didn’t;
either Carl Wilson made those statements of protest, or he
didn’t. Plaintiff is not suing upon a statement in the Book
which just generally asserts that he is callous; he is suing on a
passage that quotes him as making statements he did not make.
Nor does the claim of falsity rest upon minor inaccuracies in the
reported statements. HarperCollins’ effort to invoke the
substantial truth doctrine and its opinion arguments fail.
Summary judgment should be denied as to these statements.

D. The Fourth Passage At Issue, From pp. 311-312

of the Book, Regarding Dennis Wilson

The next passage set forth in the second cause of action
purports to describe Carl’s actions vis-a-vis what is presented
as an accurate account of the circumstances leading up to and
surrounding the death by drowning of Carl Wilson’s other brother,
Dennis Wilson. Here again, the reader is falsely advised that
Carl Wilson made statements protesting the cost of treatment,
this time for his brother Dennis. The passage advises the reader
that Dennis could have gone into treatment with Dr. Landy, and

thereby avoided his death by drowning, if only Carl had not been

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preoccupied with fees and more concerned about taking a Christmas
vacation:

"...several weeks before Christmas 1983, Carl and his

manager, Jerry Schilling, approached Dr. Landy about

treating Dennis." ..."the next day Schilling called

Landy and told him Carl needed longer to make up his

mind. The price was steep, too steep, he thought for

the Beach Boys to carry. Beyond that, Carl didn’t want

to upset his family’s holiday plans by having, as Dr.

Landy suggested, an intervention in Lake Arrowhead.

Carl suggested talking after the holidays. ...Carl was

adamant, though; he didn’t want to deal with the

problem until after the new year."

[Book, pp.311-312; Second Amended Complaint §¢ 19, pp.8-9,
attached hereto as Exhibit 1].

HarperCollins comes forward with no evidence to assert the
truthfulness this passage; indeed, the passage is not addressed
at all in the motion (although HarperCollins addresses a
different and later passage that solely concerns Dennis’
funeral). In his declaration Carl Wilson attests that he did not
make statements protesting the cost of the treatment, of
complaining about interference with his holiday plans. Decl. of
Carl Wilson ¢ 6, attached as Exhibit 3. Accordingly, Plaintiff’s
allegation of the falsity prevails, and summary judgment should

be denied.
E. The Fifth Passage At Issue, From p. 314 the
Book, Regarding Dennis Wilson’s Funeral and

John Roger

The passage concerning Dennis Wilson’s death which
HarperCollins does address, asserts, with regard to the funeral

arrangements:

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"Carl didn’t know what to do. Before making

any decisions, he insisted on consulting with
John Roger, a cult leader Carl referred to as
his spiritual master."

Book p. 314.

Carl Wilson’s deposition testimony is as follows:

Q: Is it not true that you were
indecisive about the method for burying
Dennis?

A: I was not at all.

Q: What was your wish?

A: My wish was that Dennis’ wishes be
carried out.

Q: And did you in or about this time
period consult with John Roger in relation to
any aspect of Dennis’ death?

A: Yeah. I called and had -- I called
to ask if one of the ministers would
officiate at the funeral, because nobody had
any, there was nobody to do it, and this was
all with Shawn’s, this was - it was all
Shawn’s decision, she was Dennis’ wife at the
time of his death, and she was having a very
difficult time.

[Carl Wilson deposition, p. 702, Ins. 6-21, attached hereto as
Exhibit 2].

HarperCollins’ Motion ignores this testimony and, instead,
focuses on Carl Wilson’s answer to why he feels the false passage
is defamatory (which, in legal terms, means why he thinks the
passage has a tendency to expose a person to contempt, to harm
the person’s reputation, and to discourage others from
associating or dealing with hin. N.M.U.J.I. 13-1007. The
deposition testimony of Carl Wilson clearly shows that the
passage is false. HarperCollins, failing in their burden of
going forward with the proof, presents no evidence of any kind

whatsoever showing that this is a slight inaccuracy. Clearly,

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the truth "would have a different effect on the mind of the
average reader" from that which was asserted in this passage.
Mason v. New Yorker Magazine, Inc., supra, 501 U.S. at 517.
Summary judgment should be denied.

Another passage sued on in the Complaint also references
John Roger [page 378 of the Book], and is discussed infra.

F. The Passages Regarding the Brian Wilson Trust of 1982:

the Sixth, Seventh and Ninth Passages from pp. 332-33,
and 268 of the Book

These passages communicate to the reader the message that
Carl Wilson engaged in overreaching with respect to his brother
and tricked his brother into signing a trust agreement. The
passages accomplish this defamatory message not only by what is
expressly stated, but by omitting material facts, namely, the
fact that it was Brian Wilson’s lawyer (John Branca) who
suggested and set up the trust, explained it to Brian and
administered it along with Carl. [Carl Wilson Depo. pp. 646-648,
ins. 13-7]. HarperCollins has produced the trust agreement and
cleverly utilizes its terms to obscure the true issues concerning
the defamatory nature of the passage in issue. The defamatory
passages are as follows:

"In early 1986, Carl threw his weight into the war

against Dr. Landy. ...But the Beach Boys loathed the

independence Dr. Landy was giving me. They hated that

I was beginning to be able to say no to them and act on

my own thoughts. They resented that I wrote songs, not

with Dr. Landy, but without them. ...the struggle

escalated when Carl began withholding my paychecks and

money. That authority was his through the Brian Wilson
trust of 1982, which he had me sign prior to Dr.

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Landy’s beginning treatment again." [Book p. 332; the
sixth defamatory passage]

kk *

"In Carl’s opinion, the trust was supposed to
protect me from Dr. Landy, but as I got saner, I began
questioning my brother. I couldn’t remember signing
the document in the first place. I was too incompetent

at the time to know what I was signing." [Book p. 333;
the seventh defamatory passage]
kkk

"As soon as the Beach Boys returned to LA, he
[Carl] had me sign a trust document, giving him control
of both my money and my vote in the Beach Boys’
Corporation, Brother Records, Inc. I didn’t know what
I was signing though he assured me it was for my own
protection. [Book, p. 268, the ninth defamatory

passage]
[Second Amended Complaint ¢ 19, pp. 9-10}. These statements are
an example of falsity by a combination of a positive misstatement
of fact and the omission of fact. In truth and in fact, as Carl

Wilson testified:

",,.John Branca as Brian’s lawyer advised that Brian

form a trust to protect him from possible future

misconduct at the hands of Eugene Landy. [Carl Wilson

Depo., p-. 653, Ins. 9-11] . . . "It was anticipated

that Brian would go back into the Landy treatment

program, that was a possibility, and that is what

motivated the trust, to my knowledge. I don’t know

what else John Branca was aware of, because he had been

Brian’s lawyer for years. I was just Brian’s brother."
[Carl Wilson Depo. p. 653, lIns. 15-20, attached hereto as Exhibit
2]. Carl Wilson further testified that Branca recommended the
trust, and that Carl agreed to act as trustee, because there was
a concern that Landy might engage in financial abuse (it should
be remembered as portrayed in the book, that Landy’s therapy was
a 24-hour type of therapy where he exercised total control over

his patient’s day-to-day activities). [Carl Wilson Depo. pp.

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654-655, lns. 15-9, attached hereto as Exhibit 2.] Further,
Plaintiff testified that he was present when he, Brian Wilson and
John Branca signed the trust agreement, that John Branca read him
the trust. [Carl Wilson Depo. p. 666, lns. 13-20, attached hereto
as Exhibit 2].

Thus, in truth and in fact, Carl was not given sole control
and power over Brian’s money, pursuant to a trust that carl
explained to Brian. Those are the false assertions created by
the material omissions and false implications in the Book which
make the reader believe that Carl took advantage of Brian with
respect to the trust. HarperCollins’ argument rests on a
material omission of true facts. Under the principles of law
discussed in Section I, supra, "[t]he publication of the complete
facts. . . [disclosing Branca’s involvement] would have produced
a different effect on the mind on the reader ..." Memphis
Publishing Co. v. Nichols., supra, 569 S.W.2d at 418. "This is a
situation where certain material facts were omitted and that
omission made the statement defamatory or at least rose to the
level where reasonable minds could differ. More importantly, the
omitted facts were the truth." McCullough v. Cook, supra, 679 So.
2d at 632 (Miss. Supr. Ct 1996). See also, Golden Bear
Distributing v. Chase Revel, supra, 708 F.2d at 948 (5th cir.
1983) ("Although the truth of an alleged libel may be proven as a
complete defense, it is not a defense to show that a statement
contained in a publication, if taken alone, is literally true,

when other facts are omitted which plainly refute the false

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impression of the partial statement. A statement is not true or
even substantially true if, by implication, an entirely untrue
impression is made by omission of part of the facts.’"); Church
of Scientology v. Flynn, 744 F.2d at 695 (9th Cir.
1984) ("Although Flynn did not specifically accuse csc of
attempting to cause his death, it would be reasonable to imply a
defamatory meaning from his remarks. It is well settled that the
“arrangements and phrasing of apparently nonlibellous statements"
cannot hide the existence of a defamatory meaning. . . Indeed,
the meaning of a statement is often dependent upon its context").

Summary judgment should be denied on the passages concerning
the Brian Wilson Trust of 1982.

G. The Fighth Passage At Issue, From Page 351 of the Book

This passage falsely asserts that Carl Wilson pressed the
Board of Medical Quality Assurance’s charges against Eugene
Landy. In truth and in fact, Carl Wilson had nothing to do with
those charges; this is but another example of facts being twisted
to make it seem as though Carl is endeavoring to use any means to
prevent Brian from obtaining help:

Filed by the Attorney General’s office, the BQMA’s

e charges originated with a Complaint filed by Carolyn
Williams in 1984. They were then fueled by the journal
Gary Usher compiled while we wrote songs together the

previous year and pressed by Marilyn and Carl.

[Book, p.351, Second Amended Complaint, § 19, p. 10, attached

e
hereto as Exhibit 1}.
Not only does the Book falsely state that Carl was pushing
the BOQMA charges [Plaintiff did not attempt to influence the
e@

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BOMA, Declaration of Carl Wilson, § 8, attached hereto as Exhibit
3], but the Book omits the fact that the BQMA charges against
Landy included serious allegations of psychologist misconduct
that had absolutely nothing to do with Brian Wilson, but charged
that Landy prescribed drugs to another patient without a license,
used cocaine with another patient, had sexual relations with a
patient, and committed gross negligence in the care of another
patient. Accusation Before the Psychology Examining Committee,
Board of Medical Quality Assurance Dept., State of California,
First through Fourth Causes of Action, pp. 3-7 (attached as
Exhibit 5). Those facts, if disclosed would have undermined the
Book’s statement that "the real reason for the BOQMA charges had
to do with Landy’s unorthodox treatment of Brian," (Book, p.
351), which is presented to reflect negatively upon Carl Wilson.
HarperCollins’ opinion argument fails because the asserted
opinion is based on disclosed facts which are false by way of
material omission.

Summary judgment should be denied.

H. The Remaining Defamatory Passages from The Second Cause

of Action, from pp. 371, 376, 378 and 387 of the Book

These passages present a false account of Carl Wilson’s
actions and conduct following the filing of the conservatorship
action:

For the first hour or so, Mike, Al, and Carl avoided me

like the plague. ...then I decided <Unintelligible>
action. I found Carl in his dressing room and asked if
he wanted to talk about what was going on. "I can’t,
Brian," he said. “I’ve got to take care of some

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business I’ve got going in Colorado." ...it was clear
they were shutting me out." (Book, p.371) "My brother
Carl, on the other hand, stayed in his room and drank."
(Book, p.376] "...I was performing on my own, making my
own decisions, even venturing out to art museums and
restaurants while Carl was holed up in his roon,
avoiding the outside world, still drinking heavily,

blind to his own problems. ...but then Carl had
trouble making even the simplest decisions. He had
always needed to consult with numerous people -- his

wife, lawyers, his spiritual master, John Rogers.

(Book, p.378] "Carl never once tried to talk to me

personally. He showed absolutely no sensitivity that I

was being stripped of my dignity and rights as a human

being."
[Book, p. 387; Second Amended Complaint § 19, p. 10, attached
hereto as Exhibit 1]. HarperCollins’ argument respecting this
passage is simply that Plaintiff’s allegation in the Complaint
that these passages present him as "callous" is not actionable
because callousness is just a general term of personal
perception. That is not the proper inquiry. The proper legal
inquiry is whether the passages contain false assertions of fact
about what Carl Wilson said and did. The only factual matter
respecting the passages that HarperCollins addresses is the
subject of drinking. HarperCollins points to Carl Wilson’s
general testimony that he, in the past, drank, but ignores the
fact he had stopped abusing alcohol and drugs years before the
time presented (the institution of the conservatorship). [Carl
Wilson Decl. ¢ 2 attached hereto as Exhibit 3.] In fact, the
truth is that Carl Wilson spent substantial effort and
considerable money in attempting to free his brother, Brian, from

the personal and financial domination and control of Eugene Landy

by utilization of the California conservatorship law. The facts

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in this passage were manipulated (most likely by Eugene Landy
with the knowledge of HarperCollins) as part of Landy’s effort to
oppose the conservatorship action.

Summary judgment as to these passages should be denied.

IV. THE THIRD CAUSE OF ACTION FOR LIBEL

The Third Cause of Action for Libel concerns passages that
describe the actions of various members of the Beach Boys ina
way that makes false, factual assertions about Plaintiff Carl
Wilson’s conduct. HarperCollins’ attacks the claims by asserting
that statements about other members of the Beach Boys are true.
Of course, this argument is not relevant to establish truth or
falsity of the statement as it pertains to Carl Wilson.
HarperCollins’ argument also fails to recognize the manner in
which the passages are "of and concerning" Carl Wilson.

HarperCollins is correct in its contention that, to support
a claim for defamation, the communication must be of and
concerning the plaintiff. However, HarperCollins fails to
present a full discussion of the law. The rule is that a
"communication is concerning the plaintiff if the person to whom
it was communicated reasonably understood that it was intended to
refer to the plaintiff. The communication may be concerning the
plaintiff even though it is equally applicable to other unnamed
persons." N.M.U.J.I. 13-1005 ("concerning the plaintiff:
Defined.") Further, the "communication may be concerning the

plaintiff where it refers to a group if the circumstances

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indicate that the communication was reasonably understood to
refer to the plaintiff." N.M.U.J.I. 13-1005. These are the
questions that are presented to the jury, when there is a genuine
issue of fact as to whether a statement is of and concerning the
plaintiff.

The case Poorbaugh v. Mullen, 99 N.M. 11, 20 (Ct. App.)
cert. denied, 99 N.C. 47 (1982), cited in the committee comments
for the jury instructions, supports Plaintiff’s claim. There,
the court stated the rule concerning group libel and, by analogy,
applied it to permit a partner to sue for libel when the alleged
defamation was directed to the partnership containing the name of
the plaintiff in its partnership title. Also of relevance is the
United States Supreme Court’s approval, in Rosenblatt v. Baer,
383 U.S. 75, 83 (1966) of the principle: "[Wje do not mean to
suggest that the fact that more than one person is libeled by a
statement is a defense to suit by a member of the group." This
point is cited in the Committee Note to N.M.U.J.I. 13-1005.

A. The First Passage From the Third Cause of Action, From

p. 148 of the Book

This passage concerns Brian Wilson’s "band mates" and, thus,
is of and concerning Carl Wilson:

"My band mates were not bothered because I hung around

with strange people, took drugs, behaved in ways that

defied convention, and had a marriage that was truly

weird. Their problem was accepting what I was doing to

the Beach Boys’ music. They were afraid I was fucking

up the formula that had made all of them wealthy and

famous and that wasn’t kosher."

[Book, p. 148; Second Amended Complaint ¢ 30, p. 15, attached

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hereto as Exhibit 1]. This passage falsely asserts that Carl
Wilson knew of and was not concerned with Brian’s problems, but
instead was only interested in the fact that Brian was not making
"good music." In fact, Carl was not only concerned with his
brother’s problems, but was very supportive of Brian’s music.
HarperCollins does not assert that the passage is true, only that
it is not susceptible of any defamatory meaning. However, Carl’s
testimony that he unequivocally expressed support for Brian’s
music shows that the statements are provably false. The point
about Carl’s expressed views on Brian’s music is important
because the passage refers to Brian’s creation of the "Good
vibrations" song and other songs which hallmarked Brian’s genius
as a musician and greatly contributed to critical and commercial
success. Given that Carl Wilson is a professional musician, the
assertions made as to his views on Brian’s music is a matter
which would have a tendency to hurt his reputation, and also
cause him distress.

Carl Wilson’s deposition testimony in response to
HarperCollins questioning is that he became aware of Brian’s drug
use after he took the drugs and that when he became aware he was
concerned about it, and further, he unequivocally refutes the
negative view of Brian’s music attributed to him by
HarperCollins:

"QO: Do you recall approximately when Good
Vibrations was written?

A: Yes.
Q: When was that?
A: It was written over a period perhaps ’65,

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'66. %In that, roughly in that period.

Q: Who wrote it?

A: Brian and Michael.

Q: Do you recall in that 1965 and 1966 period
whether Brian was experimenting with drugs, using
drugs?

A: Well, I am now, of course. I wasn’t really
aware of his drug taking. JI was concerned about it
though.

Q: You were concerned about it but you weren’t

aware of it? That’s what I’m confused about in your
last answer.

A: Well, I wasn’t aware as he was doing it. I
would hear about it later.

 

Q: But during that period of time, you became
aware of it?

A: After.

Q: After any particular episode of use?

A: I couldn’t have become aware of it before he
did it. I became aware of it after.

Q: Well, my questions maybe wasn’t precise

enough. But you were aware during the 1965-66 period
of Brian’s use of drugs, not at that moment,
necessarily he was using them, but of the fact that he
was using them?

A: It would be more true to say that I had been
made aware that he had taken LSD. I didn’t - it wasn’t
like he was on it or taking it. He had taken it, I
think a few times.

Q: Whether related to his drug usage or
otherwise, did you observe during this period of time
and for a period of time after that he was
experimenting with new musical forms?

A: Yes.

Q: How in your own words would you describe what
he was attempting to do with music during the period
beginning the mid-60s say in the ensuing three or four
years?

A: He was evolving musically to a very new
place. It was quite incredible. It was not standard
pop ditties or commercial songs, he had moved far
beyond that, and it was thrilling. It was thrilling to
be witness to, and a joy to be part of.

x *&

Q: Did you find all of it artistically
incredible? Did you feel that perhaps as a necessary
part of experimenting, some of it was better than
others?

A: Well, he could do no wrong. It was just

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absolutely magical flow of creativity and, it was just
a real blessing to be a part of it, and I was very
grateful, and it was very stimulating, exciting, and
very enriching; very emotionally fulfilling, to see my

brother, you know, have this great talent come present.

kk

Q: Did you have a view separating your artistic
reaction from its likely degree of commercial
acceptance in the marketplace?

A: No, I didn’t. I know that the book tries to
paint a picture like we didn’t like it. That is
absolute crap. I was part of Brian’s support system.
It omits that we were extremely close and spent all of
our time, nearly all of our time together when I was
not away on tour.

Q: Was it your view that this music would likely
be commercially successful?
A: I thought the music was so great that it

could be incredibly successful and possibly change the

world, change the musical landscape, the way people

approach music, pop music.
[Carl Wilson deposition, pp. 741-745, lns. 15-7, attached as
Exhibit 2].

The issue of Carl’s attitude toward the music is a
defamatory assertion of fact: either Carl expressed the type of
effusive support he testified to in his deposition, or he didn’t.
HarperCollins has come forward with no evidence to refute Carl
Wilson’s testimony. Summary judgment on this passage should be
denied.

B. The Second, Third, Fourth and Fifth Passages

From the Third Cause of Action, from pp. 224-

226, and 239-240

These passages assert that several members of the Beach
Boys’ including Carl Wilson, were pressuring Landy to put Brian

Wilson back to work writing and producing songs, and also that

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Carl objected to the fact that Landy’s therapy involved use of
the studio with Brian (Carl’s protest supposedly being that the
studio could have been used instead to generate some rental
income). The passages are as follows:

"After roughly two months, Dr. Landy introduced the
piano. From the start of the treatment, the Beach Boys
had been pressuring him to get me to a point where I
could write and produce again. That’s all they wanted.
But Dr. Landy resisted. Becoming a Beach Boy again, he
explained repeatedly, wasn’t a goal of therapy...[{At
the Beach Boy’s own recording studio Dr. Landy] booked
ninety minutes of piano time for me everyday...Dr.
Landy made sure the studio was empty. Despite previous
explanations, the Beach Boys, especially Mike, made no
secret that they were anxious to put me back to work
writing songs. But Dr. Landy kept them at bay."

(Book, p.224] "Mike was the first to register a
complaint [about the "therapy" piano sessions with Dr.
Landy.] He said I was using the studio unproductively.
Carl agreed. He said the music we were making sounded
crazy." [Book, p.225] "Dr. Landy told the Beach Boys
I wasn’t ready to cope with the pressure of making an
album. I was still too fragile. They didn’t see it
that way and began complaining about the studio time he
and I were using, time they could have been renting to
other people. ‘You want Brian back?’ Landy asked. ‘or
do you want to make a couple hundred bucks a week?
What’s more important?’ When they saw that Dr. Landy
had begun recording our piano sessions, they asked for
the masters. Dr. Landy refused to turn them over.

They were part of my therapy, privileged...but that was
only the beginning of war with the Beach Boys." [Book,
pp. 224-226]

zk k

"Steve Love was pushing everyone, especially me, to
step up the pace on the next album...at the same time,
Dr. Landy was trying to keep me within a therapeutic
regimen rather than let the guys take over and put me
to work full time. But there were priorities. Steve
and the others wanted to get out of the Warner’s
contract while they still could capitalize on the
success of 15 Big Ones somewhere else. Steve wanted
the new LP done no later than January 1, 1977. [Randy
rejected that, stating that Brian needed a month’s
vacation at Christmas]..."that’s ridiculous to take so

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much time off work,] Steve said. Steve had his own
agenda in mind, and Dr. Landy’s struck him as
unreasonable. Tempers flared. They called Dr. Landy a
‘control freak.’ Dr. Landy responded by telling the
Beach Boys it was exactly this kind of attitude that
caused me to break in the first place. ...‘he’s
supposed to make records,’ Steve said. ‘What the hell
are we paying you for?’ ‘To make him well,’ Dr. Landy
replied...‘[hje can only make records when he’s well,

something not one of you seems to understand."

[Book, p. 239-240; Second Amended Complaint ¢ 30, pp. 16-18,
attached hereto as Exhibit 1.]

The underlined text clearly shows how the statements apply
to Carl Wilson. HarperCollins’ motion focuses on proving what
Mike Love and Steve Love said and did with respect to Brian
Wilson and his therapy; HarperCollins doesn’t present any
evidence refuting Carl Wilson’s assertion that he did not object
to the use of the studio and that he was not pressuring Brian to
write songs. [Carl Wilson Declaration, 4 9, attached as Exhibit
3]. Not only was Carl Wilson not pressuring Brian, as he
testified at his deposition, Carl "was suffering from back
disease at that time," and "wasn’t very involved," which is
omitted entirely from the Book:

Q: What is your reaction to the accuracy of that
statement [that the Beach Boys, especially Mike, were

anxious to put Brian back to work] ?
A: It’s like leave me out of it, because it’s

bull.
Q: What do you mean by leave me out of it?
A: That wasn’t my view. I didn’t want Brian
to be a workhorse, ever.
Q: And where did you line up in relation to
Mike Love on that at this time?
A: I wasn’t part of it. Michael always wants

to write with Brian. He always wants to work
with Brian, or play, or whatever.
Q: Did you during - well, how much communication

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were you having with Brian directly during this time

period?

A: Not much. I was in bed with back, a serious
back injury.

Q: And is it, therefore possible that Brian,

perhaps mistakenly, perceived that whatever pressure he
was receiving from Mike Love or anyone else might have
reflected your own perspective as well as Mr. Love’s?

: No.
Q: Why?
A: Because. He knew, he knew better.
Q: How?

: By knowing that I was, you know, for hin,
that I was, you know, behind him, supportive to hin,
not greedy. Never was.

[Carl Wilson deposition, pp. 754-756, ins. 14-19, attached hereto
as Exhibit 2].

c. The Sixth Passage From The Third Cause of

Action, From p. 243 of the Book

Plaintiff agrees that this passage does not expressly refer
to him (Book, p.243) although he does not concede the passage’s
accuracy:

"Later, Dr. Landy spoke with Steve, who came right out

and said he was fired. ‘You guys don’t understand,’

said Dr. Landy. ‘If I’m not in the studio, you’re not
going to get anything out of Brian.’" ‘Not true,’

Steve countered. "Brian’s going to work. He/’1l work.
We’re all working. The group’s going to finish their
album.’"

[Book, p.243; Second Amended Complaint § 30, p. 18, attached
hereto as Exhibit 1].
D. The Seventh Passage From The Third Cause of
Action, From p. 373 of the Book
This passage states: "What could be better for me to be
writing songs with Mike again? It had nearly killed me several

times before." Plaintiff agrees that this passage does not

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expressly refer to him, and withdraws his libel claim thereon.

E. The Eighth and Ninth Passage From The Third

Cause of Action, From pp. 232 and 239

This eighth passage from p. 232 of the Book accuses Carl
Wilson of joining in a "Brian’s Back" publicity campaign, which
the book falsely asserts was kept secret from Brian Wilson and
Landy, thereby portraying Carl as a co-conspirator in what is
portrayed as yet another effort to exploit Brian Wilson:

"We were dumbfounded. Then angered. We’d been had.

It turned out Mike had been working for months on this

huge publicity campaign heralding my return. He’d

written a terrible song, ‘Brian’s Back,’ and sold

Warner Brothers on a publicity campaign designed to

exploit the fact that I’d produced the Beach Boys’

latest album. No one had mentioned a word to me. Nor
did Dr. Landy. Everyone knew except us. ...it wasn’t

enough for me to write and produce songs. Now they had
to sell my illness publicly, too."

[Book, p. 232; Second Amended Complaint ™ 30, p. 19, attached
hereto as Exhibit 1].

The ninth passage at issue from page 239 of the Book also
concerns this campaign:

"I understood and agreed with the concept [referring to

a Saturday Night Live sketch], which is more than I can

say about the Brian is Back campaign."

[Book, p. 239.]

Carl Wilson’s testimony is that it was Eugene Landy who
proposed the Brian is Back campaign, and that the "Brian’s Back
song" was written by Mike Love after Landy came up with the
campaign. Those facts "would have a different effect on the mind

of the average reader," from the Book’s passages, Mason v. New

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Yorker Magazine, Inc., supra, 501 U.S. at 517, they tend to
prove, as Carl testified, that he "...was not a part of any
conspiracy to exploit his illness." [Carl Wilson depo., pp. 693-
694, lns. 25-2, attached hereto as Exhibit 2.]

F. The Final Passages From The Third Cause of

Action, From pp. 246-247

These passages describe physical abuse and intimidation of
Brian Wilson, by persons who are portrayed as being hired by the
Beach Boys and following the Beach Boys’ orders:

"One morning Stan and Steve, my tenders, appeared at my
bedside. ...‘Get out of bed!’ Stan barked, yanking
back the covers. The sudden movement scared me. I put
my hands over my face. ‘Don’t hit me, I pleaded.’
‘Then get out of bed,’ Stan said. ...my life became
hell under these three hyper macho watchdogs." [Book,
p.246] "For the most part, Stan and Rocky intimidated
me. They towered over me. Chided me for being
overweight. Both screamed at me, ‘You goddam fat,
lazy, fucking rock star! You chicken shit! When are
you going to straighten the fuck up and get your shit
together? You fucking pussy!’ Against my wishes, the
Beach Boys ordered them to drag me on several tour
dates early that summer. Every afternoon, my body
guards took me to a local YMCA to play basketball.
..-In the elevator, Stan pushed me into a corner. He
clenched his fist and pushed it into my chest. ‘You
fucking rock star,’ he growled. ‘You goddam, fucking,
obese rock star. You fucking disgust the shit out of
me.’ ...As he chided me, Stan pounded his fist into my
chest. ...In a state of regression and constant fear,
I obeyed like an abused dog."

[Book, p. 247; Second Amended Complaint, ( 30, p. 19, attached
hereto as Exhibit 1 (emphasis added).] HarperCollins does not
present any evidence showing the truth of statements, but argues
only that the statements cannot be considered of and concerning

Carl Wilson. However, that argument ignores the impression

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created by the underlined text that Stan and Rocky were acting on
the orders of the Beach Boys, which by definition includes Carl.
That accusation is false. Plaintiff did not give them orders,
and further he did not know about the physical abuse described in
the passages. [Carl Wilson Decl. ¢ 7, attached hereto as Exhibit
3]. |
Vv. CONCLUSION

For all of the foregoing reasons, Plaintiff Carl Wilson
respectfully asserts that HarperCollins’ motion for summary

judgment should be denied.

DATED: March [7 , 1997 Respectfully submitted,

LANGBERG, COHN & DROOZ

By: (pry (ED

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PROOF OF SERVICE
1013A (3) CCP

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the county of Los Angeles, State of
California. I am over the age of 18 and not a party to the
within action; my business address is 12100 Wilshire Boulevard,
Suite 1650, Los Angeles, California 90025.

On March 19, 1997, I served the foregoing document described
as PLAINTIFF CARL WILSON’S MEMORANDUM OF LAW IN RESPONSE TO
HARPERCOLLINS’ MOTION FOR SUMMARY JUDGMENT in this action:

by placing the true copies thereof enclosed in sealed
envelopes addressed as stated on the attached mailing list.

Xx by placing the original _X_ a true copy thereof enclosed
in sealed envelopes addressed as follows:

R. Bruce Rich, Esq.

Weil, Gotshal & Manges
767 Fifth Avenue

New York, New York 10153

William S. Dixon, Esq.

Rodey, Dickason, Sloan, Akin & Robb, P.A.
Albuquerque Plaza

201 Third Street NW, Suite 2200
Albuquerque, New Mexico 87103

x BY MAIL

_X Iam "readily familiar" with the firm’s practice of
collection and processing correspondence for mailing. Under that
practice it would be deposited with U.S. Postal Service on that
same day with postage thereon fully prepaid at Los Angeles,
California in the ordinary course of business. I am aware that
on motion of the party served, service is presumed invalid if
postal cancellation or postage meter date is more than one day
after date of deposit for mailing in affidavit.

Executed on March 19, 1997, at Los Angeles, California.
Xx FEDERAL I declare that I am employed in the office of a

member of the bar of this court at whose direction the service
was made.

 

BARRY B. LANGBERG

 

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UNITED STATES iS TiaCT COUR
IN THE UNITED STATES DISTRICT COURT Di a OR Note ML
FOR THE DISTRICT OF NEW MEXICO CS PST 24 us 03
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CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

Case No..CIV 94: 892 JC

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Plaintiffs,
JURY TRIAL DEMANDED

Vv.

HARPERCOLLINS PUBLISHERS,
_INC., a Delaware corporation,
Defendant.

 

SECOND AMENDED COMPLAINT FOR LIBEL

COME NOW PLAINTIFFS CARL WILSON AND AUDREE WILSON who allege
as follows:

FACTS COMMON TO ALL ALLEGATIONS

1. Plaintiff Carl Wilson ("Carl") is and, at all times
herein mentioned, was an individual residing in the State of
Colorado.

2. Plaintiff Audree Wilson ("Audree") is and, at all times
herein mentioned, was an individual residing in the County of Los
Angeles, State of California.

3. Plaintiffs are informed and believe and thereupon
allege that defendant HarperCollins Publishers, Inc.
("HarperCollins") is a corporation duly organized and existing
under the laws of the State of Delaware with principal business

offices in New York City..

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4. The tortious acts complained of herein were committed,
in part, in the State of New Mexico, and plaintiffs sustained
injury in said state as a consequence of said tortious acts.

5. The jurisdiction of this Court is invoked pursuant to
28 U.S.C. 1332(a) which confers the subject matter jurisdiction
on the United States District Court in all cases in which there
is a diversity of citizenship and the amount in controversy
exceeds the sum of $50,000, excluding interest and costs.

6. Venue is proper pursuant to 28 U.S.C. section 1391(a)
and (c).

7. Within three (3) years of the filing of this Complaint,
defendant HarperCollins caused to be written, printed, published
and disseminated to the general public, including the public
throughout the State of New Mexico, a book entitled Wouldn’t It
Be Nice (the “Book").

8. The Book was purportedly written by Brian Wilson with
Todd Gold. However, Plaintiffs are informed and believe and
thereupon allege that Eugene Landy (“Landy"), with the knowledge
and consent of HarperCollins, collaborated extensively in the
authorship and editing of the Book, and in doing so, altered text
and manipulated sources in a manner which impaired the accuracy
of the Book, defamed Plaintiffs, and misused and misrepresented
the credibility, if any, that the purported authorship by Brian
Wilson lends to the Book. The actual malice and negligence of
Defendant HarperCollins, as alleged below, in publishing the
defamatory statements set foxth below, are shown, in part, by the

fact that HarperCollins knew or had reason to know that Landy was

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acting as previously alleged, and that Brian Wilson was the
subject of a conservatorship action instituted to free him from
the detrimental physical and psychological control of Landy,
having been specifically put on notice of such by Plaintiffs, in
written and oral communications from Plaintiffs’ attorneys.
Further, HarperCollins knew or had reason to know that Landy
collaborated in the authorship of the Book in the manner
described above. HarperCollins published the Book in reckless
disregard of the aforementioned, and thus, in reckless disregard
of the truth of the Book and the alleged defamatory statements.
Further, the Book contains accounts that Brian Wilson repeatedly
suffered from severe delusions resulting from schizophrenia and
drug abuse. These accounts, in and of themselves, gave
HarperCollins reason to doubt Brian Wilson’s ability to
accurately remember the events and conversations set forth in the
Book. HarperCollins published the Book in reckless disregard of
the aforementioned, and thus, in reckless disregard of the truth
or falsity of the Book, and the alleged defamatory statements.
Plaintiffs are informed and believe and thereupon allege that
HarperCollins knew or should have known that publication of a
book containing defamatory allegations about Plaintiffs generated
by Landy would be especially damaging to Plaintiffs because the

Book was ostensibly authored by Brian Wilson, and not by Landy.

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9.

FIRST CLAIM FOR RELIEF
(Libel)

Plaintiff Audree Wilson hereby repeats and realleges

paragraphs 1 through 8 hereinabove and incorporate said

paragraphs herein by reference as though set forth at length.

10.

The Book contained the following statements of and

concerning Audree that are false and defamatory:

Book, p.

Book, p.

"My mother was no help. She almost never
opposed my father, almost never rose up and
defended her children. . . . Who knows? She
might’ve been abused herself. I often saw
her pour a drink in the afternoon and
continue sipping throughout the evening. She
was passive and aloof by the time my dad came
home, a bystander who refused to intercede in
the flagrant child abuse going on in front of

her."

27.

"She once looked on as he tied me to a tree
for punishment. Another time, while the rest
of the family was eating dinner, my dad
barged into my room and caught me
masturbating. . . . Not hiding his disgust,
he shouted to my mom ‘the boy’s not to have

dinner for two nights.’ My mom complied."

27. i

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"(My father] stalked off, irate, muttering
threats under his breath, and continuing his
tirade in another room. My mother listened
passively, as always, refusing to take either
side in the matter."

Book, p. 48.

11. These and other statements in the Book are defamatory
per se in that they falsely portray Audree as an unfit mother who
permitted child abuse to occur, and as an individual so
emotionally demoralized that she was incapable of defending
herself or her children against severe abuse. Said statements
expose Audree to contempt, ridicule and obloquy. The defamatory
sting of the statements is confirmed by the context of the
statements, including the statements on page 27 of the Book
("Those incidents are modest compared to the worst," and “My Dad
started berating me for something, I can’t recall what, while my
mom looked on passively from the sidelines, gripping her ever-
present tumbler.")

12. At the time defendant made said statements, it knew
that said statements would expose Audree to contempt, ridicule
and obloquy.

13. Plaintiff Audree Wilson is informed and believes and
thereupon alleges that defendant made the defamatory statements
alleged hereinabove with actual malice (also known as
constitutional malice), in that said defamatory statements were
made with knowledge that thay were false or with reckless

disregard for their truth or falsity. Said plaintiff further

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alleges that defendant knew that it had no reasonable basis in
fact to publish said statements and that it had no reliable and
unbiased information with which to support said statements, in
part, for the reasons set forth in paragraph 8 above. Plaintiff
further alleges that defendant failed to properly determine the
truth or falsity of said statements prior to publication.

14. Plaintiff Audree Wilson is informed and believes and
thereupon alleges that defendant was negligent in publishing the
defamatory statements alleged hereinabove, in that said
statements were published without the exercise of ordinary and
reasonable care as to the truth or falsity of the statements.

15. Defendant caused the Book to be distributed throughout
the United States. The Book was widely sold in the State of New
Mexico. Accordingly, the above-enumerated defamatory statements
were seen and read by persons who reside in the State of New
Mexico. Defendant knew, or should have known, that said
defamatory statements would be read by individuals who reside in
said state and elsewhere.

16. As a direct and proximate result of the publication of
said defamatory statements, Audree has suffered actual injury to
her reputation and standing in the community, and further, she
has suffered shame, mortification, personal humiliation, mental
anguish and suffering and emotional distress, all to her general
damage in the amount of Five Million Dollars ($5,000,000).

17. Defendant’s conduct was intentional and was done

maliciously, with ill will towards Audree and in conscious

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disregard for her rights. As a result, Audree is entitled to

punitive damages in an amount to be proven at trial.

SECOND CLAIM FOR RELIEF

 

(For Libel)

18. Plaintiff Carl Wilson hereby repeats and realleges
paragraphs 1 through 8 hereinabove and incorporates said
paragraphs herein by reference as though set forth at length.

19. The Book contained the following false and defamatory
statements of and concerning Carl:

"One night, Dennis, Carl, and I were
drunkenly walking through the redlight
district in Amsterdam, heading for a
restaurant while Dennis tried talking me into
sampling one of the local girls." .. . "The
piano bench was knocked over, punches were
exchanged and before I knew it Carl and
Dennis were dragging me out the front door
and hustling me back to the hotel." .. .

"After downing a few, Dennis, Carl, and Mike

hit the dance floor." (pp: 47 - TS

"Dennis smuggled heroin into New Zealand
. . . Carl, trying to calm the turbulence by
admitting his involvement in the purchase of

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Book,

Book,

p-

pp-

the heroin, ended up getting punched in the face
by Rocky."
252.

“Within a week Carl was in Dr. Landy’s
office, asking how much the treatment would
cost." . . . "Dr. Landy explained himself
clearly, knowing Carl was going to take the
information he got from the meeting and tell
Marilyn, who had helped him through the
dissolution of his marriage and now was
providing him comfort in dealing with me."

. . . “Carl never liked Dr. Landy’s bluntness
and was scared of him." .. . “Carl and Al
complained Dr. Landy’s fees were outrageous."
. . . “Predictably, the first thing they
wanted to discuss wasn’t my health, it was
Dr. Landy’s fee."

273-275.

"  . . Several weeks before Christmas 1983,
Carl and his manager, Jerry Schilling,
approached Dr. Landy about treating Dennis."
. . . “The next day, Schilling called Landy
and told him Carl needed longer to make up
his mind. The price was steep, too steep, he
thought for the Beach Boys to carry."

"Beyond that, Carl,didn’t want to upset his

family’s holiday plans by having, as Dr.

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Book,

Book,

Book,

PP-

p.

Pp.

Landy suggested, an intervention in Lake
Arrowhead. Carl suggested talking after the
holidays." . . . “Carl was adamant, though;
he didn’t want to deal with the problem until
after New Year."

311-312.

“Carl dian’t know what to do. Before making
any decisions, he insisted on consulting with
John Rogers, a cult leader Carl referred to
as his spiritual master."
314.

"In early 1986, Carl threw his weight into
the war against Dr. Landy." .. . “But the
Beach Boys loathed the independence Dr. Landy
was giving me. They hated that I was
beginning to be able to say no to them and
act on my own thoughts. They resented that I
wrote songs, not with Dr. Landy, but without
them. .. -

"The struggle escalated when Carl began
withholding my paychecks and money. That_
authority was his through the Brian Wilson
Trust of 1982, which he had me sign prior to
Dr. Landy’s beginning treatment again .. .*®
332.

"In Carl’s opinion, the trust was supposed to

protect me from Dr. Landy, but as I got

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saner, I began questioning my brother. I
couldn't remember signing the document in the
first place. I was too incompetent at the
time to know what I was signing."

Book, p. 333.
"Filed by the Attorney General’s office, the
BMQA’s charges originated with a complaint
filed by Carolyn Williams in 1984. They were
then fueled by the journal Gary Usher
compiled while we wrote songs together the
previous year and pressed by Marilyn and
Carl."

Book, p. 351.
"As soon as the Beach Boys returned to L.A.,
he [Carl] had me sign a trust document,
giving him control of both my money and my
vote in the Beach Boys’ corporation, Brother
Records, Inc. I didn’t know what I was
signing, though he assured me it was for ny
own protection."

Book, p. 268.
"For the first hour or so, Mike, Al, and Carl

avoided me like the plague.

“Then I decided to take action. I found Carl
in his dressing room and asked if he wanted

to talk about what was going on.

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‘I can’t, Brian,’ he said. ‘I’ve got to take
care of some business I’ve got going in
Colorado.’ .. . It was clear they were
shutting me out."

Book, p. 371.
"My brother Carl, on the other hand, stayed
in his room and drank."

Book, p. 376.
". . . I was performing on my own, making my
own decisions, even venturing out to art
museums and restaurants while Carl was holed
up in his room, avoiding the outside world,
still drinking heavily, blind to his own
problems." . . . “But then Carli had trouble
making even the simplest decisions. He had
always needed to consult with numerous people
-- his wife, lawyers, his spiritual master,
John Rogers."

Book, p. 378.
"Carl never once tried to talk to me
personally. He showed absolutely no
sensitivity that I was being stripped of my
dignity and rights as a human being."

Book, p. 387.

20. These and other statements in the Book are defamatory
per se in that, inter alia, they falsely portray Carl as an

abuser of alcohol; falsely impute to him involvement in the

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purchase of illegal narcotics; falsely characterize him as an
emotionally troubled, weak individual who could be easily
intimidated and/or controlled by his wife, John Rogers, Landy,
and others; falsely suggest that he was callous and unconcerned
about his brother Brian’s physical and emotional health and was
willing to risk Brian’s life to save money; falsely state that he
wrongfully withheld money that was payable to Brian; and falsely
state that he obtained control over Brian’s funds and Brian’s
position within the Beach Boys’ corporation by trick and for
improper purposes. Said statements expose Carl to contempt,
ridicule and obloquy, and have a tendency to injure him in his
reputation.

21. At the time defendant made said statements, it knew
that said statements would expose Carl to contempt, ridicule and
obloquy, and would have a tendency to injure him in his
occupation.

22. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant published the defamatory
statements alleged hereinabove with actual malice (also known as
constitutional malice), in that said statements were published
with knowledge that they were false or with reckless disregard
for their truth or falsity. Said plaintiff further alleges that
defendant knew that it had no reasonable basis in fact to publish
said statements and that it had no reliable and unbiased
information with which to support said statements, in part, for

the reasons set forth in paragraph 8, above. Said plaintiff

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further alleges that defendant failed to properly determine the
truth or falsity of said statements prior to publication.

23. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant was negligent in publishing the
defamatory statements alleged hereinabove, in that said
statements were published without the exercise or ordinary and
reasonable care as to the truth or falsity of the statements.

24. Defendant caused the Book to be distributed throughout
the United States. The Book was widely sold in the State of New
Mexico. Accordingly, the above-enumerated defamatory statements
were seen and read by persons who reside in the State of New
Mexico. Defendant knew, or should have known, that said
defamatory statements would be read by individuals who reside in
said state and elsewhere.

25. As a direct and proximate result of the publication. of
said defamatory statements, Carl has suffered actual injury to
his reputation and standing in the community, and further, he has
suffered shame, mortification, personal humiliation, mental
anguish and suffering and emotional distress, all to his general
damage in the amount of Five Million Dollars ($5,000,000).

26. As a further direct and proximate result of the
publication of said defamatory statements, Carl has suffered
special damages in that the public’s erroneous belief in the
truth of the defamatory statements contained in the Book has
caused the public to lose interest in The Beach Boys, the
professional music group in which Carl performs. As a result of

the public’s loss of interest, there has been a decline in

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revenue derived from the group’s live performances and record
sales, which has resulted in a loss of business profits and a
loss of salary to Carl. Although the precise amount of Carl’s
special damages cannot be ascertained with certainty at this
time, preliminary discovery shows that Carl has suffered a loss
of profits associated with a drop in concert tour revenues in the
amount of approximately five million and seven hundred and
twenty-seven thousand dollars ($5,727,000), based on a comparison
of tour revues for the year period ending June 30, 1991 and the
year period ending June 30, 1992. The defamatory statements were
published in September 1991.

27. Defendant’s conduct was intentional and was done
maliciously, with ill will towards Carl and in conscious
disregard for his rights. As a result, Carl is entitled to

punitive damages in an amount to be proven at trial.

THIRD CLAIM FOR RELIEF
(For Libel)

28. Plaintiff Carl Wilson hereby repeats and realleges
paragraphs 1-8 and 19-27 hereinabove and incorporate said
paragraphs herein by reference as though set forth at length.

29. Carl is, and at all material times was, a member of the
popular musical group professionally known as "The Beach Boys."

30. The Book contains numerous false and defamatory
statements of and concerning The Beach Boys, including statements
falsely suggesting: that The Beach Boys deliberately exploited

Carl’s brother and fellow band member, Brian Wilson, in order to

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earn more money for themselves; that The Beach Boys coerced Brian
to write songs and produce records even though the group knew
that doing so would damage Brian Wilson’s mental health; that The
Beach Boys’ efforts to obtain and finance psychological/
psychiatric treatment for Brian Wilson were motivated by the
group’s desire to secure a lucrative record deal; that The Beach
Boys opposed Wilson’s therapy with Dr. Landy solely because it
was interfering with the group’s ability to coerce Brian Wilson
to make records with them; that once the new record deal was
signed, The Beach Boys had no further regard for Brian Wilson’s
mental and physical health (in this vein, the Book falsely states
that The Beach Boys "almost killed" Brian Wilson by requiring him
to work on songs and albums when he was not healthy enough to do
so); that The Beach Boys created a "Brian is back" publicity
campaign in 1976 without Brian Wilson’s consent or approval,
which campaign attempted to capitalize on Brian Wilson’s illness
for pecuniary gain; and that the Beach Boys allowed their
bodyguards to abuse and intimidate Brian Wilson:

"My band mates were not bothered because I

hung around with strange people, took drugs,

behaved in ways that defied convention, and

had a marriage that was truly weird. Their

problem was accepting what I was doing to the

Beach Boys’ music. They were afraid I was

fucking up the formula that had made all of

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Book, p.
Book, p.
Book, p.

them wealthy and famous, and that wasn’t

kosher."

148.

"After roughly two months, Dr. Landy
introduced the piano. From the start of the
treatment, the Beach Boys had been pressuring
him to get me to a point where I could write
and produce again. That’s all they wanted.
But Dr. Landy resisted. Becoming a Beach Boy
again, he explained repeatedly, wasn’t the
goal of therapy. . . - [At the Beach Boys’
own recording studio Dr. Landy] booked ninety
minutes of piano time for me every day... -
Dr. Landy made sure the studio was empty.
Despite previous explanations, the Beach
Boys, especially Mike, made no secret that
they were anxious to put me back to work
writing songs. But Dr. Landy kept them at
bay."
224

"Mike was the first to register a complaint
[about the "therapy" piano sessions with Dr.
Landy]. He said I was using the studio
unproductively. Carl agreed. He said the
music we were making sounded crazy."

225 «

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 58 of 147

Book, pp.

"Dr. Landy told the Beach Boys I wasn’t ready
to cope with the pressure of making an album.
I was still too fragile. They didn’t see it
that way and began complaining about the
studio time he and I were using, time they
could have been renting to other people.

‘you want Brian back?’ Landy asked. ‘Or do
you want to make a couple hundred bucks a
week? What’s more important?’ When they saw
that Dr. Landy had begun recording our piano
sessions, they asked for the masters. Dr.
Landy refused to turn them over. They were
part of my therapy, privileged. . . But that
as only the beginning of war with the Beach
Boys."

226.

"Steve Love was pushing everyone, especially
me, to step up the pace on the next album. .
. At the same time, Dr. Landy was trying to
keep me within a therapeutic regimen rather
than let the guys take over and put me to
work full-time. But there were priorities.
Steve and the others wanted to get out of the
Warners contract while they could still
capitalize on the success of 15 Big Ones
somewhere else. Steve wanted the new LP done

no later than January 1, 1977. {Landy

-17-

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Book, pp.

Book, p.

rejected that, stating that Brian needed a
month’s vacation at Christmas] .. . ‘That’s
ridiculous to take so much time off work,’
Steve said. Steve had his own agenda in
mind, and Dr. Landy’s struck him as
unreasonable. Tempers flared. They called
Dr. Landy a ‘control freak.’ Dr. Landy
responded by telling the Beach Boys it was
exactly this kind of attitude that caused me
to break in the first place. .. . ‘He’s
supposed to make records,’ Steve said. ‘What
the hell are we paying you for? ‘To make him
well,’ Dr. Landy replied. . . .’{H]je can only
make records when he’s well, something not
one of you seems to understand."

239-240.

"Later, Dr. Landy spoke with Steve, who came
right out and said he was fired. ‘You guys
don’t understand,’ said Dr. Landy. “If I’m
not in the studio, you’re not going to get
anything out of Brian.’“ ‘Not true,’ Steve
countered. "“Brian’s going to work. He/’1ll
work. We’re all working. The group’s going
to finish their album./’"
243.

“What could be better for me to be writing

songs with Mike again? It had nearly killed

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Book, p.

Book, p.

Book, p.

me several times before."

373.

“Wwe were dumbfounded. Then angered. We'd
been had. It turned out Mike had been
working for months on this huge publicity
campaign heralding my return. He'd written a
terrible song, ’Brian’s Back,’ and sold
Warner Brothers on a publicity campaign
designed to exploit the fact that I/d
produced the Beach Boys’ latest album. No
one had mentioned a word to me. Nor to Dr.
Landy. Everyone knew except us....It wasn’t
enough for me to write and produce songs.
Now they had to sell my illness publicly
too."
232

"Tl understood and agreed with the concept,
which was more than I could say about the
Brian is Back campaign."

239. |

"One morning Stan and Steve, my tenders,
appeared at my bedside. . - - ‘Get out of
bed!’ Stan barked, yanking back the covers.
The sudden movement scared me. I put my
hands over my face. ‘Don’t hit me, I
pleaded.’ ‘Then get out of bed,’ Stan said.

My life became hell under these three

* . .

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 61 of 147

hypermacho watchdogs."
Book, p. 246.
“For the most part, Stan and Rocky
intimidated me. They towered over me.
Chided me for being overweight. Both
screamed at me, ‘You goddamn fat, lazy,
fucking rock star! You chickenshit! When
are you going to straighten the fuck up and
get your shit together? You fucking pussy!’
Against my wishes the Beach Boys ordered them
to drag me on several tour dates early that
summer. Every afternoon my bodyguards took
me to a local YMCA to play basketball. ...
In the elevator, Stan pushed me into a
corner. He clenched his fist and pushed it
into my chest. ‘You fucking rock star,’ he
growled. ‘You goddamn, fucking obese rock
star. You fucking disgust the shit out of
me.’ . . . As he chided me, Stan pounded his
fist into my chest. . . Ina state of
regression and constant fear, I obeyed like
an abused dog."
Book, p. 247.
31. Readers of said defamatory statements reasonably
understood said statements to refer to The Beach Boys and their
agents, and thus to have personal reference and application to

Carl, as a member of The Beach Boys.

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 62 of 147

32. At the time defendant made said statements, it knew
that said statements would expose The Beach Boys and its members
to contempt, ridicule and obloquy, and would have a tendency to
injure them in their business.

33. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant published the defamatory
statements alleged hereinabove with actual malice (also known as
constitutional malice), in that said statements were published
with knowledge that they were false or with reckless disregard
for their truth or falsity. Said plaintiff further alleges that
defendant knew that they had no reasonable basis in fact to
publish said statements and that it had no reliable and unbiased
information with which to support said statements, in part, for
the reasons set forth in paragraph 30, above. Said plaintiff
further alleges that defendant failed to properly determine the
truth or falsity of said statements prior to publication.

34. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant was negligent in publishing the
defamatory statements alleged hereinabove, in that said
statements were published without the exercise of ordinary and
reasonable care as to the truth or falsity of the statements.

35. Defendant caused the Book to be distributed throughout
the United States. The Book was widely sold in the State of New
Mexico. Accordingly, said defamatory statements were seen and
read by persons who reside in the State of New Mexico. Defendant
knew, or should have known, that said defamatory statements would

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be read by individuals who reside in said state and elsewhere.

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36. As a direct and proximate result of said defamatory
statements, The Beach Boys’ reputation has been injured and the
good will associated with The Beach Boys’ name has been
diminished. As a member of The Beach Boys, Carl has suffered
actual injury to his reputation and standing in the community,
and further, has suffered shame, mortification, personal
humiliation, mental anguish and suffering, and emotional
distress, all to his general damage in the amount of Five Million
Dollars ($5,000,000). |

37. As a further direct and proximate result of said
defamatory statements, the business of The Beach Boys has been
damaged, including but not limited to business resulting from
record sales, merchandising and concert tours. As a member of
The Beach Boys, Carl has suffered special damages in that he has
suffered pecuniary losses by virtue of the diminution of such
business, including loss of business profits and loss of salary.
Although the precise amount of Carl’s special damages cannot be
ascertained with certainty at this time, preliminary discovery
shows that Carl has suffered a loss of profits associated with a
drop in concert tour revenues in the amount of approximately five
million and seven hundred and twenty-seven thousand dollars
($5,727,000), based on a comparison of tour revues for the year
period ending June 30, 1991 and the year period ending June 30,
1992. The defamatory statements were published in September
1991.

38. Defendant’s conduct was intentional and was done

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maliciously, with ill will towards The Beach Boys and in

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v:\wil3\010\ 2ndamend.com
Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 64 of 147

conscious disregard for its rights. As a result, Carl is

entitled to punitive damages in an amount to be proven at trial.

WHEREFORE, plaintiffs pray for judgment as follows:

1.

Dollars

1.
Dollars
2.

Dollars

ON THE FIRST CLAIM FOR RELIEF
For general damages in the amount of Five Million
($5,000,000); and

For punitive damages in an amount to be proven at

ON THE SECOND CLAIM FOR RELIEF
For general damages in the amount of Five Million
($5,000,000);
For special damages in excess of Two Hundred Thousand
($200,000); and

For punitive damages in an amount to be proven at

ON THE THIRD CLAIM FOR RELIEF
For general damages in the amount of Five Million
($5,000,000);
For special damages in excess of Two Hundred Thousand

($200,000); and

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3. For punitive damages in an amount to be proven at

trial.

DATED: Agate Lt. 1995

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—-24-

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Attorneys for Plaintiffs
CARL WILSON and AUDREE WILSON

 
 

 

Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 66 of 147

PLAINTIFFS HEREBY DEMAND A JURY TRIAL

Pursuant to Federal Rule of Civil Procedure 38(b),

plaintiffs hereby demand a trial by jury in this action.

DATED: Agal- 17 1995

v: \wil3\010\ 2ndamend.com

      

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Attorneys for Plaintiffs
CARL WILSON and AUDREE WILSON

 
 

Case 1:94-cv-00892-JEC-LFG Document165 Filed 04/21/97 Page 67 of 147

CERTIFICATE OF SERVICE

I certify I caused a true copy of the foregoing pleading to
be hand delivered to opposing counsel, William S. Dixon, Esq.,
and mailed to Defendant, care of Mr. Dickson’s co-counsel, Bruce
Rich, Esq., Weil, Gotshal Manges, 767 Fifth Avenue, New York,
New York 10153. This August, 1995, with first
class postage affixed.

  

 

Ernesto Romero

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 69 of 147

2 UNITED STATES DISTRICT COURT

3 FOR THE DISTRICT OF NEW MEXICO
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6 CARL WILSON, an individual and ‘CER [FIED
7 AUDREE WILSON, an individual, COPY
8 Plaintiffs, )

 

9 vs. . ) No. CIV 94 892 JG
10 HARPERCOLLLINS PUBLISHERS, ) VOLUME III
11 INC., a Delaware corporation, )
12 Defendant. . )
ee
14
15 Continued deposition of CARL DEAN WILSON,
16 taken at 10940 Wilshire Boulevard,
17 Suite 800, Los Angeles, California,
18 commencing at 10:10 A.M., Thursday,
19 November 7, 1996, before Paulette M.
20 Griffin, CSR No. 2499.
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- COURT REPORTING

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Wilson
heroin episode or episodes that are being
discussed, that were discussed at the meeting and

that are being discussed in this passage?

A. My participation was being at this
meeting. I did participate in it.
Q. Did you have anything to do with

the heroin transaction itself?

A. None.

Q. Did you ever physically take
possession of heroin at the time being described
by this episode and being discussed at that
meeting?

A. Dennis put a package in my hand and

I got rid of it.

Q. And you what?

A. I got rid of it.

Q. You flushed it down the toilet?

A. That’s correct.

Q. What was the package that he handed
you?

A. I don’t know. It was just a little
package. He was very scared. It was very of the

moment and very like somebody was chasing him.

And he said something, "Get out of here. Go.
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INTERIM COURT REPORTING

 

 
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2 UNITED STATES DISTRICT COURT

3 FOR THE DISTRICT OF NEW MEXICO

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6 CARL WILSON, an individual and )

7 AUDREE WILSON, an individual, )

8 Plaintiffs, )

9 vs. ) No. CIV 94 892 JG
10 HARPERCOLLLINS PUBLISHERS, ) VOLUME IV
11 INC., a Delaware corporation, )

12, Defendant. )
ee

14

15 Continued deposition of CARL DEAN WILSON,
16 taken at 10940 Wilshire Boulevard,
17 Suite 800, Los Angeles, California,
18 commencing at 10:15 A.M., Friday,

19 November 8, 1996, before Paulette M.
20 Griffin, CSR No. 2499.

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25 PAGES 509 - 565 Beat -y isn.

COURT REPORTING

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 72 of 147

Wilson
have drunk on occasion while you were in
Amsterdam in 1964? You don’t remember, do you?

MS. DUMAS: Compound.

THE WITNESS: I do not recall that
particular visit to Amsterdam very well at all.
It’s very dim. It's very long ago.

BY MR. RICH:

Q. So I take it, that if you had been
drinking, you wouldn’t remember that detail
either; is that correct?

A. I just simply don’t know.

Q. Now, looking at Page 98, you said
that you were not involved in a brawl; is that
correct?

A. That’s correct.

Q. Where does this passage say that
you were involved in a brawl?

A. "The piano bench was knocked

over, punches were exchanged, and

before I knew it Carl and Dennis were

dragging me out the front door and

hustling me back to the hotel."

Q. Yeah, that is what it says. You

read that as saying you were in the brawl?
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INTERIM COURT REPORTING

 
 

 

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Wilson

A. Well, yes, it suggests that we, the
four of us were there and that punches were
exchanged.

Q. If you look at the beginning of
that paragraph, it says, quote, "no sooner did I
start," meaning Brian, "than the barkeep" who I
take was not you; correct? You were not the
barkeep; correct?

A. Of course not.

Q. -- "jumped all over me, yanking me
off the bench. I gave him a push and began
playing away. A struggle ensued," unquote, and
then there follows your language.

A. Yes.

Q. You think the only reasonable
interpretation of that passage is that you were
involved in the brawl even though it indicates
that Brian and the barkeep were mixing it up?

A. Well, that obviously is the most

evidence, that he was in it also.

Q. Keep your voice up for the
reporter.

A. It also in a nebulous way mentions
the other people’s names. It doesn’t say I

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INTERIM COURT REPORTING

 

 

 
 

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Wilson
punched him, he punched me. It says "punches
were exchanged."
Q. I would agree with that.

Do you have any recollection of
such an incident one way or the other?
MS. DUMAS: Vague and ambiguous.
THE WITNESS: No, I do not recall
it happening.
BY MR. RICH:
Q. Did you ever take to the dance
floor when you would socialize?
A. I suppose I did. Sometimes.
Q. Is there anything about public
dancing that you think injures your reputation?

The sight of you dancing?

A. Do I think the sight of me dancing
injures --
Q. In any way injures your

reputation.

A. No.

Q. Do you think the fact of your
having several beers injures your reputation if
you were observed downing several beers?

A. No.

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INTERIM COURT REPORTING

 

 

 
Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 75 of 147

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0:15:56 2 IN THE UNITED STATES DISTRICT COURT

3 FOR THE DISTRICT OF NEW MEXICO

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6 CARL WILSON, an individual, and ) No. CIV 94

7 AUDREE WILSON, an individual, ) 892 JG

8 Plaintiffs, )

9 vs. )

10 HARPERCOLLINS PUBLISHERS, Inc., )

11 a Delaware corporation ) VOLUME V

12 Defendant. ) PAGES 566-710
43000 wee re ee errr rcs

14

15 Deposition of CARL DEAN WILSON, held at the
16 | offices of Weil, Gotshal & Manges, 767 Fifth Avenue
17 New York, New York commencing at 10:20 A.M.,

18 Sunday, November 24, 1996, before DAVID HENRY, RPR.
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* NOON PRATT

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CARL DEAN WILSON

in any way to suppress that.

Q. Did Mike Love to your knowledge have
one or more children out of wediock?

A. Oh, I don’t know. I don’t think so.
At least I’m not aware of it. I believe I know all
of his children. That doesn’t mean they weren't,
or perhaps doesn’t.

Q. Can you tell me the circumstances

under which the Brian Wilson trust was created?

A. Yes, I can.
Q. Would you, please.
A. John Branca advised that it was in

Brian's best interests to have a trust, and --
Q. Who was Mr. Branca representing at the

time he gave that advice?

A. Brian.
Q. And who did he give the advice to?
A. Well, I don’t know who all he gave it

to, but I know that I was one of them, and of
course Brian was.

Q. And when was this date-wise?

D

The date?

Yes, by year.

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I don’t -- mid-80s, early 80s.

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INTERIM/NOON & PRATT COURT REPORTING

 

 
 

 

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647
CARL DEAN WILSON
Q. Would 1982 sound correct?
A. Oh, it was the Brian Wilson trust of
1982.
Q. And was Brian himself a party to these
discussions?
MS. DUMAS: Vague.
MR. RICH: What’s vague about it,
Ms. Dumas?
MS. DUMAS: I don’t know which
discussions -- you said discussions plural.
Q. Responding to the prior question, the
answer to the prior question. You can answer.
A. Weii, T don’t know how many

conversations John Branca had with people other
than myself.

Q. To your knowledge, was Brian a
participant in the decision to set up the trust?

A. Ves, he was, and John explained to
Brian very carefully what the purpose of a trust
was, that it was an instrument, and that it would
place his assets into a -- in a way that would
protect them.

Q. Why did Mr. Branca recommend that this

trust be set up?

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INTERIM/NOON & PRATT COURT REPORTING

 

 
 

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 78 of 147

 

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648
CARL DEAN WILSON

A. To protect Brian from Eugene: Landy, to
protect Brian from Eugene’s abuse, financial abuse,
because it was known that Gene was very abusive,
and that he was dangerous to Brian’s financial
well-being in terms of diverting assets and revenue
to himself away from Brian.

Q.. Did Brian at this time agree that
Dr. Landy was being financially abusive toward him?

A. I don’t know if he was aware at that
point.

Q. Is-it your understanding that the
trust could only have been set up with Brian’s
knowledge and consent?

A. Yes, I would think so.

Q. So does it not follow that he would
then had to have agreed that Dr. Landy was being
financially abusive?

MS. DUMAS: He is not here to
speculate, he is here to testify --

MR. RICH: No, I don’t want him to
speculate, I’m trying to refresh his recollection.

MS. DUMAS: No, you’re not, you’re
trying to do if then, then so.

MR. RICH: Some lawyers think in

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INTERIM/NOON & PRATT COURT REPORTING

 
 

 

 

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14:27:50 25 A. Somewhat.

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1 CARL DEAN WILSON
] 14:26:12 2 Q. And can you help me clarify, please,
s 14:26:12 3 I’m trying to understand what the rationale for
i 14:26:16 4 setting the trust up was, and I am now somewhat
i 14:26:18 5 confused by what I think are inconsistent answers.
a 14:26:22 6 . A. I think I have told you before that it
a 14:26:34 7 was learned in 1976, 77, that Eugene Landy could be
E 14:26:36 8 very abusive, and that his excess knew no bounds,
' 14:26:46 9 and that John Branca as Brian’s lawyer advised that
Zz 14:26:52 10 Brian form a trust to protect him from possible
{
i 14:26:56 1i future misconduct at the hands of Eugene Landy.
14:27:04 12 Q. Is-it your recollection that the trust
14:27:04 13 was set up at a time when there was no existing
: 14:27:08 14 relationship between Brian and Dr. Landv?

im 14:27:12 15 A. It was anticipated that Brian would go
14:27:18 16 back into the Landy treatment program, that was a
14:27:18 17 possibility, and that is what motivated the trust,
14:27:22 18 to my knowledge. I don’t know what else John

a 14:27:26 19 Branca was aware of, because he had been Brian’s

| 14:27:32 20 lawyer for years. I was just Brian’s brother.

m 14:27:36 21 Q. And were you during this period party
i 14:27:42 22 to the discussions about whether and if so under
: 14:27:42 23 what conditions Dr. Landy would be re-engaged to
i 14:27:46 24 work with Brian?

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CARL DEAN WILSON

Q. Who was the decision-making group?

A. It was Brian’s partners and John
Branca, and I think Tom Hewlett was part of the
discussion, and Jerry Schilling, who was my manager
at the time; and myself, of course.

Q. And did that group eventually
determine that it would be in Brian’s best
interests to re-engage Dr. Landy for a period of
time? This is as of 1982 now.

A. Yes, I believe so.

Q. And did you agree with that judgment
at the time?

A. Yes, in desperation we all did.

Q. And just so I understand, please tell
me if I’m correct in understanding your testimony.
Your best recollection is that it was in
anticipation of re-engaging Dr. Landy that the
trust was set up, the purpose of which was to
protect Brian from potential financial abuse at
Dr. Landy’s hands, is that correct?

A. . That’s what I recall.

Q. And what do you remember about how
this trust was to work?

A. I don’t know. I was just asked to be

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655
CARL DEAN WILSON

co-trustee because I was a brother. I was a family
member. John Branca did -- I didn’t know a trust
from this -- you know, from anything. I didn’t
know.

Q. Was he the other co-trustee,
Mr. Branca?

A. Of course he was. He was the one who
set up the trust, which was omitted.

Q. Did you develop an understanding of
what your responsibilities as trustee were?

A. I understood that I was to sign
documents and just be supportive of Brian.:

Q. What were the responsibilitics cf the

trust in relation to Brian's financial affairs?
How encompassing was this?
A. I didn’t really know.
Q. Do you recall examples of the kinds of
things you did in Brian’s behalf as trustee?
MS. DUMAS: As co-trustee.
As co-trustee.
A. I think I signed several documents,
and was more a support function than anything else,

because I did not run Brian’s business affairs.

Q. That’s what I was going to ask you.

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CARL DEAN WILSON
Q. And did you as co-trustees take any
action with respect to that bill?
A. I don’t recall what action was taken.
It obviously was called into question.
Q. Did you find, putting expenses to one

side, did you find Dr. Landy’s fees within reason?

A. My understanding was that it was going
to be, when they -- yes. My understanding was that
his fees would be $800 thousand.

Q. For what period of time?

A. For 12 months. Eight to nine hundred

thousand dollars, 12 to 18 months.

Q. And you found that fee to be
reasonable?
A. I didn’t really -- I don’t know, I

thought that’s just what the fee was going to be.

Q. Did you express to anyone at the time
you learned what that fee would be whether you
thought it was low, high, just right or something
else?

A. I thought it was worth saving Brian’s
life. I wasn’t concerned about the fee. Brian
could well afford it.

Q. Had you ever experienced medical or

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660
CARL DEAN WILSON

other counselling fees in a range of that magnitude

personally?

A. No.

Q Anyone else in your family?

A. No.

Q Were you in any way shocked by those
fees?

A. No. Mark Metter told Jerry Schilling

that Gene’s fees had gone up. He called at the
time of Jerry’s and I first meeting and it was
said, you know, his fees have gone up to six
dollars a minute.

Q. And your reaction was, just fine with
me?

A. There wasn’t anything to react to. It
was just we were desperate to save Brian’s life.

Q. Did you feel that paying fees of that
magnitude was consistent with discharging your
fiduciary responsibilities as co-trustee of the
trust and someone charged with preserving Brian’s
assets?

A. Well, I wasn’t charged with preserving

Brian's assets, I was as a family member just doing

as John Branca instructed me to do, and there as a

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666

1 CARL DEAN WILSON
7:43:34 2 have been unable to receive a copy.
2:43:42 3 A. I have to say I am.
2:43:42 4 ~ QO. Well, who has copies?
1:43:42 5 A. Well, I would think John Branca would
2:43:46 6 have a copy.
2:43:50 7 Q. Did you during the time were you
2:43:52 8 co-trustee retain a copy of whatever document it is
7:43:56 9 we're talking about?
2:43:56 10 A. No.
43:56 11 Q How many pages was this document?
7:43:58 12 A I.don’t know.
7:44:00 13 Q. Who signed it?
2:44:02 14 A Well, I think John, Brian and myself.
7:44:08 15 Q And were you present when Brian signed
:44:10 16 it?
2:44:10 17 A. I think I was.
7:44:10 18 Q. Did you read it to him before he
2:44:12 19 Signed it?
44:12 20 A. John Branca did.
44:14 21 Q. John Branca read it. Did Brian ask
2:44:18 22 questions about it?
2:44:18 23 A. I think so.
2:44:20 24 QO. And do you remember the nature of the

1:44:22 25 questions he asked?

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693
CARL DEAN WILSON
BY MR. RICH:

Q. Do you see the reference, the
suggestion that this was the brainchild of Mike
Love?

A. Yes.

Q. Does that in any way refresh your
recollection or cause you to recail in any sense
that Mike Love was involved in developing such a
publicity campaign rather than Dr. Landy?

A. No, it doesn’t. In fact, I thought

that Michael had written a song after the publicity

campaign -- that that gave Michael the idea to
write this song. That’s my impression.

Q. And by the song --

A. Not that the idea came first.

Q. Okay, we are referring here to the

song Brian’s Back that is referred to in this
passage?

A. Yes.

Q. Do you doubt the reaction to this that
Brian describes, namely that he viewed this as
turning his illness into a bit of a publicity
tool?

A. Well, I was not a part of any

INTERIM/NOON & PRATT COURT REPORTING

 
 

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702
° 1 CARL DEAN WILSON
16:09:16 2 A. That I didn’t know what to do?
5 16:09:16 3 Nonsense. Absolutely nonsense. Before making any
A 16:09:22 4 decisions, he insisted on consulting with John
° i 16:09:24 5 Rogers. It’s just untrue. Not so.
j 16:09:34 6 Q. It is not true that you were
16:09:34 7 indecisive about the method for burying Dennis?
e @ 16:09:38 8 A. I was not at all.
: 16:09:42 9 Q. What was your wish?
16:09:42 10 A. My wish was that Dennis's wishes be
@ 2 16:09:46 11 carried out.
3 16:09:46 12 Q. And did you in or about this time
16:09:52 13 period consult with John Roger in relation to any
e 16:09:52 14 aspect of Dennis's death?
16:10:00 15 A. Yeah, I called and. had -- I called to
16:10:06 16 ask if one of the ministers would officiate at the
e. 16:10:06 17 funeral, because nobody had any, there was nobody
16:10:10 18 to do it, so, and this was all with Shaun’s, this
16:10:18 19 was -- it was all Shaun’s decision, she was
e 16:10:20 20 Dennis’s wife at the time of his death, and she was
16:10:22 21 having a very difficult time. |
16:10:30 22 Q. Assuming for the sake of this question
16:10:32 23 that the report that you were indecisive is
° 16:10:34 24 inaccurate, how would a report that, before
16:10:40 25 deciding on how Dennis’s remains would be disposed
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
CARL WILSON, an individual, and ) No. CIv 94
AUDREE WILSON, an individual,. ) 892 5G
Plaintiffs, )
vs. : sofa, mays . . ) 5 ‘
HARPERCOLLINS PUBLISHERS, Inc., ). |
a Delaware corporation _) VOLUME VI -
Defendant. |) PAGES 711-837

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Continued Deposition: of CARL DEAN WILSON,
held at the offices of Weil,: Gotshal & Manges,
767 Fifth Avenue New York, New York commencing at
10:07 A.M., Tuesday, November 26, 1996, before

DAVID HENRY, RPR.

 Noon&PRarr

AN Beu@sriewe LEGAL SERVICESS COMPANY

230 Park Avenue, Suite 847

; New York, NY 10169-1317
(212) 490-3430 ¢ (800) 362-2520°

Fax: (212) 490-3534

 

 

 
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731
CARL DEAN WILSON

Q. Did you also believe that he was out
to financially exploit his clients?

A. I didn’t think he was out to exploit
at that moment in time. I thought he was out to
make as much money as he possibly could.

Q. ‘Did you think he was overpriced?

MS. DUMAS: Asked and answered at
the last session of the deposition.

Q. You can answer.

A. / I knew that he was overpriced at the
first level of training as a psychologist, and yet
I thought Brian was worth way more than any cost of
any program. Money was not a concern.

Q. Did Landy attempt to use techniques of
intimidation in his interpersonal dealings?

A. Of course. That’s well-known.

Q. Do you recall -- looking at the bottom
sir, of 274 and the top of 275, do you recall
Dr. Landy expressing that it was going to be more
difficult to bring results about with Brian this
time around as opposed to during the prior course
of treatment?

A. At the bottom of 74?

Q. Yeah, if ‘you'd read the last two lines

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741
CARL DEAN WILSON

A. Brian and the Beach Boys were going to
do one concert per month and just pay it straight
over to Brian, so it would help defray some of the
expense.

Q. So would that explain why various
members of the group had an interest in the first
place in Dr. Landy’s fee structure, namely because
there would be some process which by concert or
something they would be in essence defraying- his
fees? |

A. I think it was interest. It was just
being interested in -- being involved. I think it
was more a matter of principle.

Q. Do you recall approximately when Good

Vibrations was written?

A. Yes.
Q. When was that?
A. It was written over a period perhaps

65, 66. In that, roughly in that time period.

Q. Who wrote it?
A. Brian and Michael.
Q. Do you recall in that 1965 and 1966

period whether Brian was experimenting with drugs,

using drugs?

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742
CARL DEAN WILSON
A. Well, I am now of course. I wasn’t
really aware of his drug taking. I was concerned
about it though.
Q. You were concerned about it but you
weren’t aware of it? That’s what I’m confused

about in your last answer.

A. Well, I wasn’t aware as he was doing
it. I would hear about it later.
Q. But during that period of time, you

became aware of it?.

A. After.

Q. After any particular episode of use?

A. I couldn’t have become aware of it
before he did it. I became aware of it after.

Q. Well, my question maybe wasn’t precise
enough. But you were aware during the 1965-66

period of Brian’s use of drugs, not at the moment
necessarily he was using them, but of the fact that
he was using them?

A. It would be more true to say that I
had been made aware that he had taken LSD. I
didn’t -- it wasn’t like he was on it or taking
it. He had taken it I think a few times.

Q. Whether related to his drug usage or

INTERIM/NOON & PRATT COURT REPORTING

 

 

 
 

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743
a CARL DEAN WILSON

11:20:18 2 otherwise, did you observe during this period of
11:20:22 3 time and for a period of time after that he was
11:20:24 | 4 experimenting with new musical forms?

11:20:30 5 A. Yes.

11:20:30 6 Q. How in your own words would you
11:20:34 7 describe what he was attempting to do with music
11:20:36 8 during the period beginning the mid-60s say in the
11:20:40 9 ensuing three or four years?

11:20:44 10 A. He was evolving musically to a very
11:20:54 11 new place. It was quite incredible. It was not
11:21:08 12 standard pop ditties or commercial songs, he had
11:21:08 13 moved far beyond that, and it was thrilling. It
11:21:12 14 was thrilling to be witness to, and a joy to bea
11:21:16 15 part of.

11:21:18 16 Q. What were some examples of the product
21:21:18 17 of his evolution? What kinds of musical work
11:21:22 18 reflect that evolution, do you recall?

11:21:26 19 A. Certainly. Certainly I do. There is
11:21:30 20 a song written called Let Him Run Wild, and the
11:21:44 21 musical arrangement was very classic and classical
11:21:46 22 compared with what came before it musically in
11:21:50 23 terms of just the straight pop, you know, the hit
(11:21:52 24 records. It was much more complex and it had a lot
11:21:58 25 more depth and movement.

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744
CARL DEAN WILSON

Q. Did you form a view -- artistically I
take it it was thrilling, I take it that was your
word?

A. It was incredible.

Q. Did you find all of it artistically
incredible? Did you feel that perhaps as a
necessary part of experimenting, some of it was
better than others?

A. Well, he could do no wrong. It was
just absolutely magical flow of creativity and, it
was just a real blessing to be a part of it, and I
was very grateful, and it was very stimulating,
exciting, and very enriching; very emotionally
fulfilling, to see my brother, you know, have this
great talent come present.

Q. Did you have a view separating your
artistic reaction from its likely degree of
commercial acceptance in the marketplace?

A. No, I didn’t. I know that the book
tries to paint a picture like we didn’t like it.
That is absolute crap. I was part of Brian’s
support system. It omits that we were extremely
close and spent all of our time, nearly all of our

time together when I was not away on tour.

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CARL DEAN WILSON
Q.. Was it your view that this music would
likely be commercially successful?
A. I thought the music was so great that

it could be incredibly successful and possibly
change the worid, change the musical landscape, the

way people approach music, pop music.

Q. Did Michael Love share your
perspective?
A. Yes, musically. Theoretically he was

concernéd with presenting a joyful, happy, good
time essence.
Q. And was that consistent or
inconsistent with the direction Brian was moving?
A. It was consistent and inconsistent
sometimes. That came -- that was later. That was
a different thing. Pet Sounds is the album that

really chronicles that time more than any other

‘album, and it was a fantastic time. It was just

absolutely great.

Q. Were these songs songs which the Beach
Boys could easily perform?

A. At the time it was thought that it
would be difficult, but it was much easier than we

thought. We performed all the songs and they all

INTERIM/NOON & PRATT COURT REPORTING

 

 

 

 

 
 

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CARL DEAN WILSON
A. Well, it would have been in 1976.
Q. Is that the only time period that you
recall that he used it for that purpose?
A. Well, yes.
Q. Okay. And do you recall having a

reaction one way or the other to the
appropriateness of that use of the studio
facilities?

A. Well, I was suffering from back
disease ‘at that time, and I wasn’t very involved.

Q. Were you aware that Dr. Landy was
using the recording studio for these purposes?

A. Yes, I do recall that they were at the
studio.

Q. Did Mike Love have occasion to express
to you his concerns about that use of the studios?

A. I would think he complained to me
about it.

Q. Were you aware that he was unhappy
about that use of the studios, whether or not he
expressed it directly to you?

A. Not other than to observe that it
was -- that it would be perhaps an expensive way to

play the piano.

INTERIM/NOON & PRATT COURT REPORTING

 

 

 

 

 

 
 

 

 

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CARL DEAN WILSON
recollection of his viewpoint.
A. Well, I’m not really sure. It sounds

right, but that is me kind of putting it in there,
you know, and that’s speculation. The truth is, I
don’t remember talking to Steve about it.

Q. Okay. There is a reference in the
third paragraph down on 224, there is a sentence
which reads as follows: "Despite previous
explanations, the Beach Boys, especially Mike, made

no secret that they were anxious to put me back to

work writing songs". Do you see that sentence?
"A, I do.
Q. What is your reaction to the accuracy

of that statement?

A. It’s like leave me out of it, because
it’s bull.

Q. What do you mean by leave me out of
it?

A. That wasn’t my view. I didn’t want

Brian to be a work horse, ever.

 

Q. Ana where did you line up in relation
to Mike Love on that at this time?
A. I wasn’t part of it. Michael always

wants to write with Brian. He always want to work

INTERIM/NOON & PRATT COURT REPORTING

 
 

 

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CARL DEAN WILSON
with Brian, or play or whatever.

Q. Did you during -- well, how much
communication were you having with Brian directly
during this time period?

A. Not much. I was in bed with back, a
serious back injury.

Q. And is it therefore possible that
Brian, perhaps mistakenly, perceived that whatever
pressure he was receiving from Mike Love or anyone
else might have reflected your own perspective as

well as Mr. Love’s?

A. No.

Q. Why?

A. Because. He knew, he knew better.
Q. How?

A. By knowing that I was, you know, for

him, that I was, you know, behind him, supportive
to him, not greedy. Never was.

Q. How had you manifested overtly your
Support for him in the period we’re now talking

about when you were laid up with your back and so

forth?

A. I don’t know how to answer that.

Q. Over on 225, there is, slightly below

INTERIM/NOON & PRATT COURT REPORTING

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CARL DEAN WILSON

the mid-point of the page, the book says "Mike was
the first to register a complaint. He said I was
using the studio unproductively. Carl agreed. He
said the music we were making sounded crazy."

Now, you and I have already discussed
your, I take it, disagreement with the assertion
that you agreed that the studio was being
unproductive, correct?

A. Well, --

MS. DUMAS: I believe that question
has been asked and answered.

Q. Well, but if he wants to amplify,
please do. We need a complete record.

MS. DUMAS: What is the question?

Q. Well, my question is first to ask him
to respond to the accuracy of the first three
sentences of that paragraph.

A. I think it’s inaccurate, untrue. I
think it’s twisted, and I think that it’s out of
context, and -- I know generally this is not true.

Q. Sitting here today, are you positive
that you did not have one or more conversations
with either Mike or Steve Love in which you

expressed the sentiment that Dr. Landy’s use of the

INTERIM/NOON & PRATT COURT REPORTING

 

 

 
 

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 99 of 147

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

Case No. CIV 94 892 JC

Plaintiffs,
Vv.

HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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DECLARATION OF CARL WILSON IN SUPPORT OF RESPONSE
TO HARPERCOLLINS’ MOTION FOR SUMMARY JUDGMENT
RE CARL WILSON’S CLAIMS

 

I, Carl Wilson, hereby declare as follows:

1. This declaration discusses the falsity of passages from
Wouldn’t It Be Nice, purportedly an autobiography written by my
brother Brian Wilson with Todd Gold (the "Book"). The purpose of
this declaration is to discuss the falsity of passages which were
not fully addressed in my deposition, and to clearly explain to
the Court my involvement with drugs. This declaration is based
on my personal knowledge, and if I called as a witness I would
and could testify to the truthfulness of the matters set forth

herein.

wil3\010\pleading

 
 

 

 

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2. The Book makes several false statements about my
involvement with drugs. While it is true that as a musician in
the 60’s and 70’s I fell prey to drugs, I have reformed my life.
The charge in the Book that I was using cocaine in the mid-1980’s
is false. While I did abuse cocaine in the years 1976-1977, I
stopped using any cocaine after 1978. It has been many, many
years since I abused any type of drugs, and I have long advocated
a drug-free lifestyle. The Book fails to report that I stopped
abusing drug, and presents the exact opposite false picture.

3. The Book (p. 252) also charges me with supplying the
highly addictive and devastating drug of heroin to my brother
Brian, at a time when he was already troubled. I have never
supplied my brother Brian with heroin. The statements in the
Book that I admitted my involvement in the supply of heroin to
Brian while we were in New Zealand, grossly manipulates the
truth. While it is true that when we were in New Zealand someone
travelling with the group handed me a packet of drugs supposedly
intended for my brother Brian that I suspected was heroin, I for
that very reason flushed it down the toilet.

4. The Book (p. 98) also contains statements falsely
suggesting that I was exchanging punches in a drunken brawl, in
Amsterdam in the early 1970’s. While I was there when Brian was
involved in an altercation in Amsterdam, I did not engage in any
physical violence, either punches or otherwise.

5. The Book (pp. 376 and 378) also accuses me of being

holed up in my room drinking heavily while the group was on tour

wil3\010\pleading 2

 
 

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 101 of 147

in Canada in 1990. This is the same time period in which the
Conservatorship Action pertaining to my brother Brian, which I
joined in, was filed. The charge of excessive drinking is
absolutely untrue, and in my opinion was put in the Book to try
to bolster Landy’s defense against the Conservatorship action.
While in the past I had an alcohol abuse problem, I had by 1990
stopped drinking heavily. Since 1980-1981 my use of alcohol has
been limited to sharing the occasional bottle of wine at dinner
and an occasional cocktail.

6. The Book (p. 311-312) also falsely accuses me of making
statements protesting the cost of treatment by Landy for my
brother Dennis, and making statements protesting against Landy

performing an intervention for Dennis because I did not want to

 

upset my Christmas holiday plans. My concerns about the
intervention Landy proposed, which I made known, were that the
plan carried a real risk of prompting Dennis to flee, because of
the hatred Dennis had expressed about Landy. I did not make any
statements of protest because of the cost or my holiday plans.

7. The Book (p. 247) also contains passages describing
physical abuse and intimidation of my brother Brian by persons
(Stan and Rocky) who are portrayed as following the Beach Boys’
orders. I did not give any such orders and I did not know about
the physical abuse described in the passages.

8. The Book (p. 351) also falsely accuses me of pushing
the charges that had been filed against Landy by the California

State BQMA. I did not attempt to influence the BQMA.

wil3\010\ pleading 3

 
 

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9. The Book (pp. 224-226, 239-240) also accuses me of
objecting to the use of the Beach Boys’ recording studio by Brian
and Landy for therapy and that I objected because of lost studio
rental income. The Book also accuses me of pressuring Brian to
write songs. Those charges are false. I never objected to
Brian’s use of the studio for therapy, and I did not pressure
Brian to write songs.

Executed this 19th day of March, 1997, at Los Angeles,
California.

I declare under penalty of perjury under the laws of the

United States of America that the f

  
 

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Carl Wilson

 

 

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 104 of 147

NationaL Aupio/Vinpeo ForReENSIC LABORATORY P.O. BOX 24-¢-72

LOS ANGELES, CALIFORNIA 20024
Norman I. PERLE CALIF. (818) 989-0990

OUT OF STATE (800) 798-7630

FACSIMILE (818) 993-8550

DECLARATION OF NORMAN I. PERLE
Case : C. Wilson & A. Wilson v. HarperCollins, Publishers
|, Norman |. Perle, declare the following:
| am a California State Licensed Investigator (#A-6088-l) and | am the owner and
Director of the National Audio/Video Forensic Laboratory located in Northridge,
California..
Among the services N.A./V.F.L. offers is the authentication of recordings consistent with
the accepted federal guidelines.
A foundation for authentication was established in U.S. v. McKeever’, received on
other grounds’, and was upheld throughout the years in cases such as Slatinsky v.
Bailey®, U.S. v. McMillan®, U.S. v. Kandiel’, Lamar v. State®, Todisco v. U.S*. The
cases are in general agreement as to what constitutes a proper foundation for the
admission of a sound recording, and indicated a reasonably strict adherence to the
rules prescribed for testing admissibility of recordings, which have been outlined as
follows:
1A. The recording device must have been capable of taking the
conversation now offered in evidence.
2A. The operator of the device must be competent to operate the
device.

3A. The recording must be authentic and correct. (emphasis added)
{ DECLARATION Page #1.

NOISE REMOVAL

VIDEO ENHANCEMENTS

SOUND ENHANCEMENTS

COMPUTER EVALUATIONS
EVIDENCE AUTHENTICATION
VOICE PRINT IDENTIFICATION
EXPERT WITNESS TESTIMONY

CERTIFIED ACCURATE TRANSCRIPTS

 
 

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1 4A. Changes, additions or deletions have not been made in the
° 2 recording. (emphasis added)
3 5A. The recording must have been preserved in a manner that is
e 4 shown to the Court.
5 6A. The speakers must be identified.
6 7A. The conversation elicited was made voluntarily and in good faith,
@ 7 without any kind of inducement.
8 AUTHENTICITY and Correctness of Recording:
9 (1) Authentication is satisfied by evidence sufficient to support
° 10 that the questioned matter is "what its proponent claims," as
1 decreed in Federal Rule 901..."’. The standard for
@ 2 correctness of a recording is whether "THE POSSIBILITY
13 OF MISIDENTIFICATION AND ADULTERATION [IS]
14 ELIMINATED, NOT ABSOLUTELY, BUT AS A MATTER
° 15 OF REASONABLE PROBABILITY". (emphasis added)
16 | am an accepted Expert Witness in these matters of recorded evidence and | currently
e 17 have testified in more than 100 trials, State, Federal, and Foreign Courts.
18 | am attaching my Resume and a Partial Case Roster of proceedings in which | have
19 qualified as an Expert Witness and given testimony.
@ 2 On March 7, 1997 | received a cassette recording in the above captioned matter.
21 The recording appears to be of a conversation with some people.
eS ‘

DECLARATION Page #2.

 
 

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On the label of the cassette is, in part, : "...EXHIBIT D CARL WILSON - "BOOZE "N"
HEROIN:".

| affixed a Security Seal Number 16801 to this cassette for identification.

My primary assignment was to review and analyze this recording in order to determine if
the content appears to be authentic, in that the words spoken are in context and appear
to be are all the words spoken at the moment in time the recorded event occurred.
Additionally, there should be no signs of inappropriate stopping and restarting of the
recorder as well as the other classifications of signs suggestive of falsification including
erasures.

The analysis procedure which included computer waveform analysis, spectrographic
chart analysis, FFT spectrum frequency analysis and a critical aural review of the audio
revealed the following:

Tape #16801 has Side 1 has audio recorded to approximately 30 +/- minutes in
duration. Side 2 appears to have the segment continued through approximately 22
minutes.

This recording, on Side 1, starts with an event already underway.

And on Side 2, the side also starts with the event already underway.

To summarize my opinions, this tape recording of unknown generation exhibits
significant and multiple suspicious areas which warrant further analysis.

It is my professional opinion that the "MASTER RECORDING" from which this recording

was made was likely an edited version of some events.

DECLARATION Page 43.

 
 

 

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| do not believe that these deficiencies might possibly be the product of some
mechanical process or problem within the recording or duplication process and | believe
that they exist at what is considered to be a higher degree than that of a coincidence. .
Further, it is also my opinion that because of the type and quantity of signs suggestive
of falsification, the context of the words as heard, are likely not be the way they were
spoken.

In as much as this analysis is conducted upon a copy of unknown generation, it is
strongly recommended that the Original Source recording and tape recorder be
obtained in order to conduct a Forensic Analysis to determine the authenticity and
originality of the evidence.

| strongly recommend that an independent Forensic Analysis be conducted on the
Master recording in order to determine the authenticity and originality of the evidence.
This analysis requires what is represented as the original recording and the original
tape recorder upon which this recording was represented to be made.

The forensic instrumental tests include computer analysis, FFT spectral analysis,
spectrogram chart analysis, and microscopic photography of the magnetic field on the
original recording. Additionally, these recordings will be compared for (dis)similarities
as the Critical Aural Perception procedure is performed.

These tests are directed to discover (1) if the recording has been edited in any manner
so as to effect the context of words (ie: erasures, inappropriate stopping and restarting
of the recorder), (2) if, in fact, the audio material is an original source recording and not

a re-recorded version.

DECLARATION Page #4.

 
 

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The testing would determine the cause of any deficiency within the audio track and is
focused on establishing an opinion as to the integrity and authenticity of the evidence.
It is a common practice for law enforcement to transport recorded evidence of this type
to my laboratory : 8357 Shirley Avenue, Northridge, Ca., 91324 for unsupervised
processing and analysis.

The manner of transport has included Federal Express, UPS Overnight Service, and
DHL Courier Services as well as personal delivery. The F.B.1. has, in the past, used
DHL Courier Constant Surveillance Service.

| have received many hundreds of Original Source recordings, along with associated
recording equipment, at my laboratory for unsupervised analysis and processing over
the years without encountering any problems whatsoever.

The examination and analysis is time consuming and the procedures require many
pieces of equipment which are not portable. As a practical matter, testing of this type
could not be conducted outside of a laboratory. |

| am attaching an Addendum of the Protocol for the Forensic Analysis of an evidence
recording.

| certify under penalty of perjury under the laws of the United States of America and the
State of California that the foregoing is true and correct to the best of my knowledge

and ability. Executed on March 13, 1997, in Northridge, California.

~~ ~V]Norman |. Perle

DECLARATION Page #5.

 
 

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REFERENCE NOTES:

169 F.Supp.426,430 (SD NY,1958)

271 F2d 669 (CA 2,1959)

330 F2d 136

508 F2d 101,104 (CA 8, 1974), cert den 421 U.S.916 (1975) Cf.

865 F2d 967, 973-74 (CA 8,1988), cert den 487 U.S. 1210 (1988)

282 NE 2d 795 (IND, 1972)

298 F2d 208 (CAL 1962)

U.S. v. McCowan, 706 F2d 863 (1983).

Zenith Radio Corp. v. Matsushita Electrical industries C.., 505 F Supp. 1190
(E.D. Pa.1980) and Finance Co. of America v. Bankamerica Corp. 493 F. Supp.
895 (D.C.Md.1980)

Gass v. U.S. 416 F2d 767, 770 (D.C. Cir.Md.1980)

U.S. v. Haldeman 559 F2d 31, 107 (D.C. Cir.1976)

DECLARATION Page #6.

 
 

 

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ADDENDUM

The following is my anticipated protocol for testing:

Receipt of materials, create file, photographing materials for Identification marking of
materials, open file.

Create digital master recordings from "Original/Source" recordings.

Create Exemplar recordings with original tape recorder.

Physical inspection of materials.

Critical aural review, logging the time addresses of deficiencies.

Comparison of "copy", from preliminary analysis, to Original/Source.

Spectrographic chart audio analysis.

Waveform audio analysis.

FFT spectrum frequency audio analysis

Magnetic Track Development inspection and photography of magnetic field on original
recording.

Comparison of photographs and charts.

Correlation of notes, findings, and Report.

The authentication testing and examination will require a minimum of 25 working days
to complete. A report of findings is usually finished within 3 to 5 days of the end of

testing.

DECLARATION Page #7.

 
 

 

Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 111 of 147

Norman I. Perle, 3.05.2, RACKE.

(BOARD CERTIFIED FORENSIC EXAMINER)
(FELLOW, AMERICAN COLLEGE OF FORENSIC EXAMINERS)

National Audio/Video Forensic Laboratory
(818) 989-0900

HOMEPAGE = http://ourworld.compuserve.com/homepages/perle
E-MAIL - perle@ix.netcom.com /or\ CompuServe #71601,771 /or\ Internet #ae293@LAFN.ORG

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PARTIAL CASE REFERENCE ROSTER

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10/31/96 : Expert Witness Testimony
ATTORNEY: Edi Faal, Esq.

(714) 502-1900
CASE :Geil v. Simpson #129770

Testimony Specifics regarding authenticity of video tape and technical presentation of video segment
which was transferred to 3/4" professional cassette with time code/frame counter. Presentation for Jury
focused on analysis of images in sequence and detail to determine the validity of personal injury claim.

10/25/96 : Expert Witness Testimony
ATTORNEY: Mark Werksman, Esq.
(213) 688-0460

CASE : Peo. v. RATHBURN #YA026602
Testimony Specifics regarding photographic image comparison. Specific identifying characteristics from

video conversion of photographic enlargements compared to Coroner photographs for victim
identification. Further testimony regarding procedures, process, training and background and experience.

10/23/96 : Expert Witness Testimony
ATTORNEY: — Charles Boags, Esq.

(310) 532-8245
CASE : Peo. v. WOODS #TA033082-01
Testimony Specifics regarding Spectrographic Analysis of unknown voice on evidence recording relative

to voice identification and comparison. Evidence Recording contained approximately 10 clear utterances
taken from a telephone message and was technically insufficient to use for identification.

10/11/96 : Expert Witness Testimony
ATTORNEY: _ Darryl Mounger, Esq.
(818) 990-9393

CASE : Peo. v. SEOANE #GA 025505-03

Roster : Page 1.

 
 

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Testimony regarding analysis of evidence recording, filtering and extracting literal transcript or utterances,
process and procedures

6/19/96 : Expert Witness Testimony

ATTORNEY'S : Richard B. Mazer, Esq.
(415) 621-4100

Andrew Parnes, Esq.
(208) 726-1010

CASE : U.S.A. v. Choe #CR-94-20066-JW / Northern California Federal District (San Jose)

Testimony regarding Authenticity of evidence recording; specific testing and procedures with a broken
tape recorder represented as the source recorder.

3/21/96 : Expert Witness Testimony

ATTORNEY : Alex Kessel
(818) 995-1422

CASE : Peo. v. Kearney #KA 025265

Testimony regarding attributes of surveillance video purported to show Defendant. Video Enhancement
show perpertrator has different features. Testimony regarding process/procedures/quaiifications, etc.

3/18/96 : Expert Witness Testimony
ATTORNEY: Edi Faal / Dan O'Sullivan

CASE : Peo. v. Edu #FEH-0168

Testimony specifics regarding flasified evidence recording, supportive technical documentation of
examination and analysis.

1/8/96 : Expert Witness Testimony

ATTORNEY : Larry Artis
(818) 915-6411

CASE : People v. Jason Goodbout #KA027551
Testimony Specifics regarding Spectrographic Analysis of unknown voice on evidence recording relative

to voice identification and comparison. Evidence Recording contained approximately 10 clear utterances
taken from a telephone message and was technically insufficient to use for identification.

11/30/95 : Expert Witness Testimony

ATTORNEY : Andrew Thorpe, Esq.
Deputy Public Defender
(310) 603-7271

Roster : Page 2.

 

 
 

 

 

Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 113 of 147

CASE : People v. STEWART #TAO 32370 : SPECIAL CIRCUMSTANCES/MURDER

Testimony Specifics regarding audio track from surveillance video. Literal transcript/intelligibility
processing/spectrographic analysis for interpretation of recorded words.

11/20/95: Expert Witness Testimony

ATTORNEY: (1) Los Angeles City Attorney Office
Wilma Pinder, Esq.
(2) Mr. Skip Miller, Esq.
Christensed, White, Miller, Fink & Jacobs
(310) 553-3000
CASE : Beyda v. City of Los Angeles, et al. (Councilman Nate Holden)

Testimony specifics regarding falsified evidence recording, supportive technical documentation of
examination and analysis.

6/6/95 : Expert Witness Testimony

ATTORNEY : Joan Whiteside Green
(213) 387-6628

CASE : Peo. v. Hawkins, et al. #4982891

Testimony specifics regarding technical aspects of evidence photographs. Accuracy of detail, color
balance, and distortion were at issue.

5/19/95 : Expert Witness Testimony

ATTORNEY : Steven Berman
(310) 328-1234

CASE : Peo. v. Brown #YA021564

Testimony specifics regarding Voice Identification and Comparison using Spectrogram Charts,
procedures, training, etc. (Kelly-Frye 402 Hearing)

5/15/95 : Expert Witness Testimony

ATTORNEY : Richard Millard
(310) 826-6608

CASE : Peo. v. Vanke #BA038270

Testimony specifics regarding falsified evidence recording, supportive technical documentation of
examination and analysis.

2/14,15/95 : Expert Witness Testimony

ATTORNEY : Larry Easterwood, Esa.
(213) 388-7563 ‘

CASE : Peo. v. Richardson

Roster : Page 3.

 
 

Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 114 of 147

Testimony regarding attributes of surveillance video purported to show Defendant touching a store clerks
breast. Enhancements and technical presentation show, in fact, there was no touching. Prosecution
presented edited time lapse version which created false perceptions. Defendant acquitted of Sexual
Battery.

3/3/95 : Expert Witness Testimony

ATTORNEY : Herbert Weiss, Esq.
Alternate Defense Counsel
(818) 778-1000

CASE : Peo. v. Bolden #PA016240

Testimony regarding attributes of surveillance video purported to show Defendant. Video Enhancements
show perpetrator has different features.

3/7/95 : Expert Witness Testimony

ATTORNEY : Ron Tudor, Esq.
El Paso, Texas
(915) 544-5039
CASE : MEDIAN v. Dept. of Army #DA-0752-95-0370-I-1

Testimony specifics regarding falsified evidence recording, supportive technical documentation of
examination and analysis.

4/4/95 : Expert Witness Testimony
ATTORNEY : Marsha Fitzgerald
Victorville, Ca.
(619) 241-0783
CASE : Peo. v. Ross #FVI-02400

Testimony specifics regarding authenticity of evidence recordings containing erasures, supportive
technical documentation of examination and analysis.

June 15,1994: ATTORNEY:

 

Ms. Kelly Aden, Esq.

Mr. Andre Jardini

KNAPP, PETERSEN & CLARKE
(818) 547-5000

CASE : Brown v. L.A. Mortuary : California Superior Court CASE #TC003569/BC049549

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TESTIFIED AS EXPERT WITNESS

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Testimony specifics: Video image Enhancements / Photographic exhibits from video evidence. Audio
Enhancements. Voicé Identification.

Roster : Page 4.
 

 

Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 115 of 147

KRIKH EAE KIKI KIKI RE EKE KKK ER RERE RRR

April 20, 1994: ATTORNEY:
Tracy Goldberg, Esq.
BORTON,PETRINI & CONRON!
(909) 381-0527

CASE : Russell v. Goodner : California Superior Court CASE #VCV-018456

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TESTIFIED AS EXPERT WITNESS

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Testimony specifics: Video Image Enhancements / Photographic exhibits from video evidence.

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October 6, 12, 13, 1993 :

 

ATTORNEY: Mr. Steven Yagman, Esq.
(310) 452-3200

CASE: Oborn v. Gates, et al. Federal CASE #88-401-JWC (GX)
Honorable Judge Mariana Pfaeizer

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TESTIFIED AS EXPERT WITNESS

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Testimony specifics: Authenticity of tape recorded evidence

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September 22/23, 1993 :

ATTORNEY: Mr. Edi Faal, Esq.
Ms. Wilma Shanks, Esq.
(714) 999-2017

CASE : Peo. v. Williams, et al. (DENNY CASE) Cal.Sup.CASE #BA-058116
Honorable Judge Ouderkirk

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TESTIFIED AS EXPERT WITNESS

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Testimony specifics: Video Image Enhancements / Photographic exhibits from video evidence.

HRI AHKIKRAEREEE KER KIER RE EREREKEKRERKEEK

November 4/5, 1992

ATTORNEY: Ms. Judith Fouladi,
Deputy Public Defender - Laguna
23560 Pacific island Drive
Laguna Niguel, Ca., 92677
(714) 249-5060

¢

CASE : Peo. v. Robert Bell #92M70706

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Roster : Page 5.

 
 

 

 

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TESTIFIED AS EXPERT WITNESS

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Testimony specifics: Analysis of recording showing insufficiency of technical audio standards which are
necessary for SPECTROGRAPHIC VOICE ANALYSIS FOR IDENTIFICATION THROUGH VOICE
COMPARISON

KRKRKEKRIKIA KREUK IEE REREREERERKIEREREKERE

March 20, 1992

 

ATTORNEY: Mr. Darryl Mounger, Esq.
Attorney at Law
(818) 766-1000

CASE : Peo. v. Stacey Koon et.Al.
RODNEY KING TRIAL : Hon. Stanley Weisberg

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TESTIFIED AS EXPERT WITNESS

KHKKKEREREAEEKEEKRERERKHERERERERENEEE

Testimony relative to Noise Removal/Sound Enhancement procedures & Transcript of audio taken directly
from original "Holiday Video 8mm tape”

RKKKR KHKHK KEKKEK KEKKK

January 29 / 30, 1992

ATTORNEY : Ms. Gayle A. Gutenkunst, Esq.
(209) 268-4021

CASE : PEOPLE v. Edward Woods : California Superior Court : CASE #8954

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TESTIFIED AS EXPERT WITNESS

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Testimony relative to Authenticity of Evidence Recording

REKKK RKKKK KKEKRKK RKEKK

July 11, 1991
ATTORNEY: Mr. Mark Foster, Esq.

Deputy Public Defender
(714) 275-6000

SUPERIOR COURT CASE #CR-38758 : People v. Wheeler

HI KIRK RIK KAA KK KIKI KK KIK AK ERER ERE KK

TESTIFIED AS EXPERT WITNESS

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STIPULATION entered at trial RE: Testimony about Identification of Defendant
with VoicePrint Waveform/Spectrographic Analysis

KRKREK KKKKK KKKEK KKKKK

March 4, 1991

 

ATTORNEY: Mr. Mick Bodek, Esq.
Deputy Public Defender
(818) 898-2450

(

CASE : PEOPLE v. Stone : #A 707630

Roster : Page 6.

 
Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 117 of 147

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TESTIFIED AS EXPERT WITNESS

 

Testimony relative to Authenticity of Evidence Recording

KEKRKK EKER KEEKKE KRKEKKK

June 28,29, 1990

 

ATTORNEY: Ms. Mary Kelly, Esq.
Attorney at Law
(213) 472-7121

U.S.A. v. Bernarbe-Rameriz, et al.
FEDERAL CASE : CR-87-422(F)-ER : Hon. Edward Rafadie

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TESTIFIED AS EXPERT WITNESS

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Testimony re; Computer/Waveform/Spectrographic Analysis/Accuracy of Transcript/Noise Removal,
Sound Enhhancement techniques.

RERKK EKKKK KKKKK KEKEK

May 1, 1990
ATTORNEY: — Mr. Gary Bond, Esq.

(602) 774-0303

CASE : ARIZONA v. Wright : #CM89-482

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TESTIFIED AS EXPERT WITNESS

KHAKI ERE RKRMAKAEKCHEEEENAEEEKEREWKE

Testimony relative to Identity of Speakers/Spectrographic Analysis

HEKKK KRKEKK KEKRKK RKEKK

March 29, 1990

 

ATTORNEY: Mr. Kwame Motilewa, Esq.
Attorney at Law
St. Thomas, Virgin Island 00801
(809) 776-2772

CASE : U.S.A. v. Hopkins : #1989-155
ST.THOMAS/ST.JOHN FEDERAL DISTRICT : HONORABLE JUDGE PIERCE

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TESTIFIED AS EXPERT WITNESS

SARITA MIKE MRKHRERERKARKEREAN

Testimony relative to authenticity of Evidence Recording and
Identity of Speakers through Spectrographic Analysis

KEKKE KHKKE KKKKK KKEKK KREKKK

March 29, 1990 ‘
ATTORNEY: L, PATRICK PIGGOTT, ESQ.
(209) 943-1941

 

Roster : Page 7.

 
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CASE #41093 Superior Court : People vs . MUELLER

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TESTIFIED AS EXPERT WITNESS

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Accuracy of Transcript and Spectrographic Analysis : Quantity of speakers

REKKK KREKKK RKKKK RKKKK KkKKK

December 12, 1989
ATTORNEY: Stephen Yagman
(213) 452-3200

 

CASE : Clark v. Ford, ET AL : #84-239 AHS

ORANGE COUNTY FEDERAL DISTRICT COURT : Honorable Judge Stotler

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TESTIFIED AS EXPERT WITNESS

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Testimony relative to Accuracy of Transcript

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June 22, 1989
ATTORNEY: BRIAN O'NEILL, ESQ.
(213) 544-5700

CASE : U.S.A. v. Bernfeld

LOS ANGELES FEDERAL DISTRICT : HONORABLE JUDGE REA

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TESTIFIED AS EXPERT WITNESS

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Testimony relative to authenticity of Evidence Recording

KRREKK EXREK KKK KKKKK KKKKK

June 14, 1989

lene

ATTORNEY : L. PATRICK PIGGOTT, ESQ.
(209) 943-1941

CASE #41093 Superior Court : Peopie vs . MUELLER

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TESTIFIED AS EXPERT WITNESS

HAAR REE REE KEAEMEKEEKHEK KKH

Accuracy of Transcript : Kelly-Frye issues relative to testimony : Acoustical evaluation : quantity of
speakers
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Roster : Page 8.
 

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 119 of 147

 

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October 6, 1988
ATTORNEY: George H. Savord, Esq.
(714) 676- 2202
KKK KKK KEK KEKEKEKKKKE KKK KKK KA KE
e TESTIFIED AS EXPERT WITNESS
CASE #SE-8938 N.T.S.B./F.A.A. vs . BYBYK : Authenticity of Evidence Recording
April 20, 1988
BARRISTERS & SOLICITORS :
E.F. Anthony Merchant
Michael D. Tochor
Regina, Canada S4P 4H9
e@ (306) 359-7777
KKK IKKIKREKEKERKREKRARKEEKEKEK KERR ER
TESTIFIED AS EXPERT WITNESS
@ CASE : THE QUEEN vs. Dimitrios Voutsis, MD.

Authenticity of Evidence Recording

REKKK KKKKK KEKKK KKKKK KEKKK

April 11, 1988
ATTORNEY: Robert LaBau,

e Deputy Public Defender
(818) 901-3854

CASE : #87-PO-0691 Peo. v. TUFFIN
Court Appointment for ANALYSIS & REPORT on Video Taped Evidence

@ KEKE KKK KKKEK ERRKK KKKKK

March, 24/25, 1987

 

ATTORNEY : Mr. Gerald M. Cobb
(213) 658-8977

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U.S.A vs. Delgado, Damaso et al. #HUSA-CR 86-624-FFF

FEDERAL DISTRICT LOS ANGELES

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RE: Authenticity of Audio Evidence

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February 9, 1987
ATTORNEY: Mr. Jeffrey A. Brightwell, Esq.

Roster : Page 9.

 
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CASE: vs. Abe Chaplan, M.D. : #A-083075

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TESTIFIED AS EXPERT WITNESS

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e Testimony relative to Authenticity of Recordings

February 1/2/3, 1987
ATTORNEY:  Rayford Fountain

(818) 793-4111
® CASE : California v. RUBY PADGETT #A591707

SPECIAL CIRCUMSTANCES - MURDER

KIKKKKEKKKKKEREKKKK KER ERR RERKEKKEKKEEE

TESTIFIED AS EXPERT WITNESS

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Testimony specifics relative to accuracy of transcripts
Noise Removal/Sound Enhancement techniques

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October 15, 1986
ATTORNEY: Michael L. Sprague
(805) 323-6666

 

CASE: California v. MASON #31585

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COURT ACCEPTED FOR FORENSIC ANALYSIS OF ORIGINAL EVIDENCE
RECORDINGS FOR SIGNS OF MATERIAL DELETIONS
ANALYSIS FOR VOICE IDENTIFICATION
e NOISE REMOVAL/SOUND ENHANCEMENT

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TESTIFIED AS EXPERT WITNESS

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TESTIMONY: Re: recordings containing signs of deletions

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e August 23, 1986

ATTORNEY: James R. Kalyvas, Esq.
(213) 277-2223

CASE : Sokoloff v. Bank of America
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Noise Removal/Sound Enhancement/Accurate Transcript

Roster : Page 10.

 
 

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August 1, 1986
ATTORNEY: Mr. David Kenner,Esq.

(818) 995-1195
CASE: U.S.A. vs. Wycoff : #86-483AHS
VOICE IDENTIFICATION, VOICE EXEMPLARS
Analysis for Voice Identification

REKKK KKK ERKEKK KKK EWEEK

March 23, 1986

 

ATTORNEY: Bradley Brunon, Esq.
(213) 273-6022

CASE: PEOPLE vs. Kathy Kay #A-766091

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COURT ACCEPTED FORENSIC TESTING OF ORIGINAL EVIDENCE
SOUND RECORDINGSFOR SIGNS OF FALSIFICATION.

HREREK KEEKRE

Analysis of original evidence recordings.
24 hour, 10 track L.A.S.O. Dispatch tape.

KKK RAKKK KEKEK EKEKK KKEEKK

November 17, 1985
ATTORNEY: —Donnalee H. Huffman, Esq.
(805) 327-1328

 

CASE: Kern County Superior Court : People vs. MARKEY

RRKEKK KKKRKE

COURT APPOINTMENT : FORENSIC TESTING OF ORIGINAL EVIDENCE
SOUND RECORDINGS FOR SIGNS SUGGESTIVE OF FALSIFICATION

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Analysis of original evidence recordings for Authentication

RRKEKK KKEKKK KKKKK KKKKK KKEKRK

September 6, 1985
November 19, 1985

ATTORNEY: Richard Sherman,
(213) 553-5111

 

CASE: vs. Abe Chaplan, M.D. : #A-083075

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COURT ACCEPTED FORENSIC TESTING OF ORIGINAL EVIDENCE
SOUND RECORDINGS FOR SIGNS OF FALSIFICATION.

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Analysis of original evidence recordings for Authentication

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TESTIFIED AS EXPERT WITNESS

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REKKK KKKKK REKKH RKKKK KKEKK

May 13, 1985
ATTORNEY: Russell H. Thaw

(818) 901-7955

CASE: vs. TERRY #A756764

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TESTIFIED AS EXPERT WITNESS

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Testified re: Authenticity of Audio Evidence Recording.

KRKEKK KKKKK RKKKK KRKKKK REKKK

May 1, 1985
LOS ANGELES PUBLIC DEFENDERS OFFICE

Andrew Thorpe, D.P.D.
(213) 491-6378

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CASE: vs. DECAMP #A-029090

FRA K KK KKK RK KKK KKK KEK KIKEKEKEKEEKEK

TESTIFIED AS EXPERT WITNESS

RARER ERE HEREKREREREENHEREREK

Re: Motion to support Forensic Testing of original recordings containing signs suggestive of falsification.

KERKK KKKKK KKEKKK KKKKK REKKK

October 28, 1984
ATTORNEY: George A. Peters,
(714) 835-0400

 

CASE: People vs. Marchette - C-54507

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TESTIFIED AS EXPERT WITNESS

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Testimony : Re: Authenticity of Evidence Recordings
(ORANGE COUNTY February 11/12/13, 1984)

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July 31, 1984
ATTORNEY: Gregory Pagan, D.P.D.

Roster : Page 12.

 
 

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 123 of 147

SAN FRANCISCO OFFICE OF THE PUBLIC DEFENDER
(415) 553-1671

CASE: Court Appointment People v. Malcolm - #112583

e Noise removal and sound enhancement of evidence recording.

KREKK KEKKKE EKKKKA KEEKK KEKKK

June 22, 1984
LOS ANGELES COUNTY PUBLIC DEFENDER OFFICE
Martin Staven, Deputy Public Defender
@ (818) 898-2440

CASE: California vs. Erikson #A-701260

Court Appointment to evaluate recorded evidence
and generate accurate transcripts of confession.

REKKK RKKKK KKKEK KRKKEK KREKEK

April 10, 1984
L.A.P.D. PROTECTIVE LEAGUE
® L.A.P.D. SGT. DARRYL MOUNGER, Board of Rights Advocate
(213) 626-5344

CASE: Board of Rights Hearing : Officer Jay Paul, P.D.I.D.

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TESTIFIED AS EXPERT WITNESS

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Tape analysis of interview, word identification, sound enhancement, noise removal.

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e April 6, 1984
ATTORNEY: Chester L. Brown,

(213) 208-8877

CASE: California vs. Schwartz :

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e TESTIFIED AS EXPERT WITNESS

HHRMA EERERRERERKEEEKRKAR RIK

RECONSTRUCTIVE ACOUSTICAL ANALYSIS AND DUPLICATION OF ARREST EVENTS

KRKEK RRKEKK KRREKK KKKKH KEKE

January 15, 1984
ATTORNEY: — Frank H. Snitow, Esq.
NEW YORK, NEW YORK, 10017
(212) 687-1166

e@ CASE: #7642/82 State of New York vs. Katz and Cincotti

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Case 1:94-cv-00892-JEC-LFG Document 165 Filed 04/21/97 Page 124 of 147

 

 

e
COURT ACCEPTED FORENSIC TESTING OF ORIGINAL EVIDENCE

e October 31, 1983

Peter Noyes, Executive News Editor

N.B.C News Department
Burbank, California 91523
CASE: DeLorean Audio Tape
@ Tape Analysis for Authentication
October 18, 1983
e ATTORNEY: David Leveton,
(213) 553-4700
CASE: vs. Wendt (Obscene Phone Calls)
RKKEKKKIKKEKEKKREKREKKKEKEAKEEKKEKKEKEK
e TESTIFIED AS EXPERT WITNESS
RAKKKRRARRERRERUKEKEEEEREREKREEREREE
Spectrographic Analysis for technical Voice identification/Comparison
e August 31, 1983
ATTORNEY: — Charles Nickell,
(818) 248-1399
CASE: SUPERIOR COURT APPOINTMENT #378657 : vs. Johnny Hairston
e SPECIAL CIRCUMSTANCES : MURDER
Tape Analysis for Authentication/Sound Enhancement - Generate Accurate Transcript

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Roster : Page 14.

 
 

 

 

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CALIFORNIA LAWYER Marcu 1996

You Can't Foo! Mother

 

 

echnology

Tamper with tapes and you leave fingerprints

ast fall Marlee Beyda, a receptionist for the field

office of Los Angeles City Councilman Nate

Holden, sued Holden for sexual harassment.
Beyda claimed that she visited Holden’s apartment eight
times and that Holden repeatedly groped and harassed her
and had even exposed himself to her at one point. When
she refused to “put out,” she said, he began to withhold
job opportunities.

Holden’s defense team first tried to submit an audiotape
of an interview between a defense psychiatrist and Beyda.
Unfortunately, the psychiatrist’s machine had malfunc-
tioned, so that taped record was unavailable. The defense
then subpoenaed a six-minute audiotape that Beyda had
presumably made independently during the same
psychiatric session.

Beyda’s tape shocked the courtroom: Among
other things, she stated that during the exposure
incident, she noticed the councilman was circum~
cised. Holden defended himself to an eager public.
He never exposed himself to her, he told reporters.
What's more, his family had been too poor when
he was born to afford such medical procedures
as circumcision.

The seven-week case involved voluminous evi-
dence, including expert evaluations of the plaintiff's
mental state, witness reports for both sides, allega-
tions of a hostile environment in Holden’s field
office, and Holden’s vehement assertions that he
had never laid a hand on the plaintiff. One of the
key pieces of evidence, however, was that tape.
Sure, Holden had pretty much defused the circum-
cision issue, but what about the rest of the material
on the tape. Could it be trusted?

Holden’s attorney, Skip Miller of Christensen,
White, Miller, Fink, Jacobs, Glaser & Shapiro in
Los Angeles, decided to call in Norman Perle of
National Audio/Video Forensics Laboratory in
Northridge. Perle is known for his work on authenticat-
ing and clarifying recorded evidence. Using a simple
device called the CE-3000, by DigiVision, Perle enhanced
images of the magnetic field of the audiotape. What he
found was a patchwork quilt of recordings.

“The entire side was 30 minutes long,” Perle notes,
chuckling. “There were less than six minutes of recording
at the beginning. The rest of the tape was erased all the
way to the end. But in those first seven minutes, there
were 64 starts and restarts, which are basically edits. And

there were signatures from three different tape recorders, as
if the tape had been made on three different tape recorders.
The bottom line was that the tape was flawed.”

But Perle still had to convince the jury of the flaws.
First he treated the tape with magnetic track developing

fluid, a liquid that quickly evaporates,

leaving traces of iron on the magnetic FI @) Gat NISILONS
track of the tape. Using a microscope,

Perle saw when the machine was recording or erasing and
when an area was recorded over. What he saw told him

that three different machines were used to make the tape.

These techniques are complicated to show a jury. So Perle
made a videotape of the magnetic fields on the audiotape,

Norman Perle of National Audio/Video Forensics Laboratory

enchanced the image with the DigiVision CE-3000, and
then enhanced that image with a computer to prepare it
for the jury. The tape was dismissed and Holden was even-
tually acquitted.

Accentuate the Visual

DigiVision’s CE-3000 is actually a video enhancement
product originally designed for medical use. The CE-3000,

Continued on page 62

 

 

 
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which has been used by doctors, recon-
naissance pilots, and various government
agencies since 1993, allows viewers to

@ sharpen contrast and compensate for
poor lighting. The company has been
marketing it to attorneys and forensics
experts for about a year. A small stand-
alone unit that goes between your TV or
camera and your VCR, it takes all the

e pixels (the tiny points that form an image
on your screen) coming in on the video
stream (about 250,000 of them) and
averages out what the value of each pixel
should be, according to a mathematical
formula. There is actually a gain in
apparent resolution similar to the way the

e graphic equalizer on your stereo makes
music sound brighter. You can adjust
three different aspects of the picture you
see: the contrast (you can sharpen the
edges of objects), the amount of detail,
and the light balancing (the color of the

@ background). To run the machine, you
just twirl three little knobs (kind of like
focusing your television set). Notes
DigiVision marketing vice president
Bruce Lawrence, “It’s even easier than
word processing.”

e The only reason more people aren’t
using it, Lawrence admits, is that the
device is pricey. At $8,000, you, or your
forensics expert, will probably want to
have a lot of video- and audiotape to
examine. But consider what you get:
Although videotape enchancers have

® existed for years, what's different about
DigiVision’s product is that it works in
real time. Instead of capturing (or extract-
ing from the video) a photo or video
frame and working on it to make it look
better, DigiVision makes the camera or

@ monitor fiddle with each frame in 1/30th

of a second (video runs at 30 frames a

second). In other words, DigiVision fixes

each little pixel at a rate of 1/250,000th
of 1/30th of a second, which is so fast
you can just call it 50 nanoseconds.

e The advantage of all this real-time

processing technology, which Digi-

Vision calls V-LACE, is that it allows

you to view the enhanced video as it’s

coming into your video monitor. A

police officer, for example, might want

to enhance the video of what appears to
be a drug deal on a playground—as

she’s watching through a camera. Or a

 

forensics expert might need to examine
the tape of an alleged assault.

“T had a tape just a little while ago
from a surveillance camera in a depart-
ment store,” Perle says. “One of the
clerks accused a guy of going up to her
counter, reaching over, and tweaking
her breast. So the cops went in and
looked at the security tape in the store
and felt there was enough there to
arrest him.

“Niow, the lenses on these cameras
had never been cleaned and the pictures
were very gray and washed out. The
resolution on these cameras stinks, for
lack of a better word. But when I
enhanced the contrast, I saw that it
showed nothing. The jury ended up
reducing the charge to some kind of
assault, because they thought he
touched her shoulder. Me, I thought
the guy should have skated.”

Doesn’t all this enhancement some-
how distort the evidence? Not at all.
In video “restoration” the programs
calculate what’s supposed to be there,
based on the existing video signal. In
this kind of video “enhancement,”
however, the programs actually manipu-
late only the information that is already
on the tape. “It doesn’t add anything,”
Perle says. “The picture is there; this just
clears up the playback process.”

Sound of Silence

Perle, who says about 80 percent of
his business is for defense attorneys,
spins story after story of the images he’s
clarified on videotape. But it’s the audio
work Perle does that is most intriguing.
For instance, Perle was once able to get
a man acquitted who had been in jail
for four years awaiting trial on capital
murder charges in a firebombing case,
when he found 21 problems with a cru-
cial interview tape, including an hour’s
worth of falsified tape.

“And with the Holden case,” Perle
says, cackling as he remembers, “the
plaintiff’s attorney even brought in
some other recording expert to corrob-
orate what she was saying. And that
man said the reason there were 64 start-
overs on the tape was because it was a
voice-activated machine. Well, anyone
who knows me was smiling during that

testimony because it was like, “We know
it was a voice-activated machine. But
that doesn’t explain the 24-minute era-
sure. And besides, 64 restarts is kind
of outrageous.”

Notes Miller, who represented
Holden, “We got hold of Norm late in
the case, and when he analyzed that
tape it was very telling. The process is
very technical, but Norm was straight-
forward about the evidence. Even the
judge was impressed.”

Video is a little easier to handle than
audio and provides a wealth of potential
evidence. “Ten years ago, hardly
anybody did forensic work with
video,” Perle notes. “But there’s been a
remarkable turn of events. The amount
of video evidence has doubled at least
three times in the last decade and it’s
going to double again. There are video
cameras in police cars, on belt buckles,
corsages, and hats. It’s only going to get
more widespread. The DigiVision
CE-3000 is the device for enhancing
resolution, contrast, and detail in
these tapes.”

 

 

National
Audio/Video
Forensic

Laboratory
Norman I. Perle
(800) 798-7630

 

 

 

 

 
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THE NATIONAL LAW JOURNAL

Monday, July 24, 1995

Jailed Four Years,

Freed Before Trial

e LOS ANGELES — Robert Vanke

Jr., 22, spent four years in jail
awaiting trial for capital murder
for a firebombing, allegedly com-
mitted in retaliation for a gang
shooting that killed a woman and
her 11-month-old baby.

On the day of trial July 12,
the Los Angeles district attorney's
office dropped the charges, citing

@ evidence the audiotape of his pur-

ported confession had been al-
tered.

Deputy D.A. Craig W.
Hum said he was unaware of any
questions about the roughly 90-
minute tape, which includes con-
versations between four suspects,
until 2 months ago when a defense
audio expert, Norman I. Perle,
told the court it had been altered.
People v. Vanke, BA038270.

Mr. Hum then went to the
FBI forensic lab, which on the eve
of trial confirmed by fax that as
much as 2 minutes, 18 seconds
had been erased from the start of

a pivotal conversation.

“It's possible there's an in-
nocent explanation, but it raised
questions in my mind about what
actually happened,” he said, add-
ing that his other evidence was not
strong enough to proceed. He said
the FBI had not found any “alter-
ation” as opposed to an erasure
that could be accidental.

In contrast, Mr. Perle —
who has testified in several high-
profile cases including the
Reginald Denny beating — flatly
states the tape was “falsified.”

There were “21 specific
things wrong and about an hour's
worth was constructed, that is, put
together in such a way as to indi-
cate the defendant was guilty,”
Mr. Perle asserted. “You have to
say somebody did this to the kid.”

The investigating officer,
ex-Det. Carl A. Sims, could not be
reached for comment. He left the
force in 1992 after he was disci-
plined for falsifying a search war-

rant request in a separate case.

Mr. Vanke's attorney Rich-
ard Millard, an L.A. sole practi-
tioner, declined to speculate about
how the tape might have been al-
tered, but said his client is consid-
ering a lawsuit.

Mr. Millard said, regard-
ing his client's long pretrial cus-
tody, that repeated discovery de-
lays had caused him to waive

speedy trial guarantees.
~—GAIL DIANE COX

 

Compiled from National Law
Journal staff correspondent and
Associated Press Reports.

 

 

 

 

 
 

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ae < By JODt WILGOREN

sy i “, "FIMES STAPF WRITER

- A psychiatrist testified Wednes-
... day that the woman suing Los
‘“ Angeles City Councitman Nate
, Holden for sexual harassment—in
‘part because he allegedly forced
~ her to touch his penis and altempt-
“ed to make her perform oral sex.—
told him that Holden is cireum-
 cised.
: But Holden, outside court, said
he ia not. “UF you don't see, you
ot dowt know,” the 66. year-otd taw -
i maker said. “She didn't see-- i've
“heen sayings that all along. She
«doesn't know, She is dead wroug.”
4S a fairly clear-cut issue,"
".. sald Holden's attorney, Skip Miller.
iii. Lawyers for plajntiff Marlee M.
‘” \! Beyda, who worked as a reception-
! ist in Holden’s field office for about
| 14 months, insist that their client
* never discussed circumcision with
; the psychiatrist, David Paster,
; During six days on the stand,
{7 Beyda was never asked about cir-
= cumeiston; she testified that she
saw Holden’s penis but did not
notice any distinguishing marks.
3t- “Fam certain that she never said
“. he was circumcised,” attorney Dan
;-.}i.t Stormer said during a break in

 

: Psychiatrist Disputes
: Holden Foe’s Statement

“She tried not to look at’ whal
{Holden} was shoving in her face.”

One of two women suing Holden .

. and the city for harassment, Beyda

has focused her accusalions on a

. series of after-hours visits to Hol- -

den’s Marina del Rey apartinent
during which she says he forced
sexual contact and offered to ad-
vance her career in exchange for
sexual favors. .

The circumcision controversy
was heightened by the fact. that
both Paster and Beyda tape-re-
corded their four-hour interview,
bul neither tape mentions cireuin-
cision, prompting accusations of
Walergale-lype evidence tamper -
ing.

Both sides joked about bringing
in Rose Mary Woods, the fate
secretary lo President Richard
Nixon, who allegedly crased parts
of her buss’s Gipes before turning
them aver to poverniucal mvesti
gators, oes

Lawyers for the defense re
quested Weyda's tape after they
discovered thal Paster’s tape .re-
corder had malfunctioned. ‘They
said Wednesday thal audio expert
Norman Peart would testify.-that
the tape Beyda gave them was, not
the original, and had been altered
or erased in about 60 places, --*1

“We have destruction of. avi-
dence,” Michael O'Connor, Miller's
partner, told Superior Court Judge

* Raymond D. Mireles, who is hear-

ing the case wilhout a jury. “There
is no benign explanation for this.”
Please see HOLDEN, BLS

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Lend co.

“HOLDEN.

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{Continued from B14 | pee
+ But Stormer told Mireles his ,
opposition was “grandatanding.” | ~

“We did not touch, alter the tape :
in any way,” Stormer said outside.
court. an

During his jengthy testimony

Wednesday, Paster sald the cir ;

cumcision question was just one of |

‘ several examples of how Beyda

- muddled details of the alleged incl, -
dents with Holden, leading him to
think her story wasmade up,
““She described at one ye

raphic sexual events, , , aN
aud there was nothing about his
penis that stood out physically," he
said. “She at times changed her
answers and seemed to have sige;
nificant difficulty with specific re-
call of events, . , . There went on
tg be confusion about dates, about
what happened when.’ Do
: Paster. algo disputed previous
expert testimbny that Beyda auf+
fered from depression, and said
instead that she had a personalily
disorder caused by events other
than the alleged harassment, sat
Ie described her as an “opporr
tunist”” who tended to “externalize
blame onto authority figures and

+ showed deep-seated hostility ta-
| ward her family. He also said she

ag. prone to explosive outbursts,
\gpmeone who presents a 6
" gocial front but has a longstanding
anger andresentment.” oy os
4 Paster will charge the city about
"$25,000 for his work on the Holder
_ case, \ . o
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JOHN K. VAN DE KAMP, Attorney General
of the State of California

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MARILYN H. LEVIN,

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Attorneys for Complainant

BEFORE THE
PSYCHOLOGY EXAMINING COMMITTEE
DIVISION OF ALLIED HEALTH PROFESSIONS
BOARD OF MEDICAL QUALITY ASSURANCE
DEPARTMENT OF CONSUMER AFFAIRS
STATE OF CALIFORNIA

In the Matter of the Accusation
Against:

Case No. D= 3745

EUGENE LANDY, Ph.D. ACCUSATION

)

)
1516 Westwood Boulevard, #206 )
Los Angeles, California )
na )
Psychology License No. PK-3571 )
)

)

)

Respondent.

 

~ Thomas O'Connor, complainant, as grounds for
disciplinary action charges as follows:
I
Thomas O'Connor is the Executive Officer of the
Paychology Examining Committee (hereinafter “PEC”) of the

Division of Allied Health Professions of the Board of Medical

Quality Assurance of the State of California, and makes and
files this Accusation in his éffictal capacity and not
otherwise. |
If
Eugene Landy, Ph.D., (hereinafter “respondent"”) was
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{ssued a paychologist's license on or about June 4, 1971 by
the PEC. Said license at all times since that date has been
and now is in full force and effect, having been renewed
through and including November 30, 1988.
‘III
Sections 2960 and 2961 of the Business and Professions
Code (all statutory references hereinafter are to that code
unless otherwise indicated) provide that the PEC may order a
psychologist’s license revoked or suspended if the psychologist
is proved, after a hearing, to have committed any of the
offenses set forth in the various subdivisions of section 2960.
Iv
Section 2960, subdivision (b) provides, in pertinent
part, that it is grounds for discipline if a psychologist uses
any controlled substance as defined in Division 10 of the
Health and Safety Code or dangerous drug to an extent or in a
manner dangerous to any other person or the public, or to an
extent that such use impairs his ability to perform the work of
a psychologist with safety to the public.
Vv
At all times mentioned herein, cocaine was a controlled
substance as defined in Division 10 of the Health and Safety
Code, and amyl nitrite was a dangerous drug as defined in
section 4211 of the Business and Professions Code.
vi
Section 2960, subdivision (k) provides that violation
of any of the provisions of the Psychology Act is grounds for

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discipline.
VII

Section 2904 provides that the practice of psychology

shall not include prescribing drugs.

VIIl
Section 2960, subdivision (n) provides that the
commission of any act of sexual abuse or sexual relations with
a patient, or sexual misconduct which is substantially related
to the qualifications, functions or duties of a psychologist is
grounds for disciplinary action.
IX
Section 2960, subdivision (j) provides that it is
grounds for discipline for a psychologist to be grossly
negligent in the practice of his profession.
FIRST CAUSE OF ACTION
Prescribing Drugs to Patient R. G.
x
Respondent is subject to disciplinary action, pursuant
to the provisions of section 2960, subdivision (k), in that he
has violated the provisions of section 2904, in that he has
prescribed drugs to a patient, as more particularly set forth *
hereinafter:

A. During the periods of time between September 1981
and February 1982, and also during the period of time
between June 1982 and September 1983, R. G. (hereinafter the
"patilent”) was a patient at the Foundation for Rechanneling
Emotions and Education, also known as F.R.E.E. clinic

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(hereinafter the ‘clinic") located on Robertson Boulevard in

Beverly Hills, California. During said periods of tine,

patient was receiving counseling in weekly individual

‘therapy sessions from a series of counselors at the clinic.

In addition to respondent, the main counselors giving
therapy to patient were unlicensed counselor Sara Hardman
from July to December 1982 and Marriage, Family and Child
Counselor intern Gary Peskin from January to June 1983.
During said periods of time, patient was also receiving
group therapy at the clinic from January to September 1983.

B. During the period of time referred to in
subparagraph A, hereinabove, respondent was the supervisor
of all of the counselors of patient at the clinic and
provided individual therapy sessions to patient.

C. During the period of time between July 1982 and May
1983, respondent on several occasions interrupted a regular
individual therapy session which patient was having with one
of the other clinic counselors, took over the remainder of
that therapy session himself, and provided individual
therapy sessions to patient. During said period of time,
respondent on a number of other occasions conducted
individual therapy sessions with patient.

D. During the period of time set forth in
subparagraph C, hereinabove, respondent prescribed,
administered and furnished drugs and controlled substances

to patient, on the dates and places set forth below:

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6.

7.

 

 

Date
August 1982

February and
March 1983

March 1983
Friday
Evening

Late March
1983

April 3, 1983

After April 9,

1983

~May 1983

Friday

Use of Cocaine With Patient R. G.

Place

Clinie

Respondent's
car and
clinic
office

Before
orgy session

Clinic

Respondent's
condo

Respondent's
condo

Respondent's
condo

XI

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Orug

cocaine

cocaine

cocaine

cocaine

cocaine &

amyl
nitrite

cocaine

cocaine &

amyl
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SECOND CAUSE OF ACTION

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Details

During Sara
H. therapy
session and
later that
night

After group
therapy
session-=
between 9
pem. and 2
a.m.

in car just
prior to
attending
orgy session

After
therapy
session

Last therapy
session

to the Extent Danqerous to Others and Public

Respondent's license as a psychologist fa further

of section 2960,

subdivision (b),

&

5.

subject to discipline in that he has violated the provisions

in that he has on numerous

occasions used a controlled substance, to wit, cocaine, to an
extent or in a manner dangerous to other persons and the

public, or to an extent that such use has impaired his ability

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to perform the work of a4 psychologist with safety to the
public; the details are set forth more particularly.

hereinafter:

A. The allegations of paragraphs I through V,
inclusive and also paragraph X, subparagraphs A, B, C, and
D are incorporated herein by reference. .

B. On each of the seven instances set forth in
paragraph X, subparagraph D, hereinabove, and incorporated
herein by reference, respondent used and administered
cocaine to himself.

XIT
THIRD CAUSE OF ACTION
Sexual Misconduct with Patient R. G.

Respondent's license is further subject to discipline,
in that he violated the provisions of section 2960, subdivision
(n), in that he has committed acts of sexual misconduct, sexual
abuse, or sexual relations with a patient; the details are set
forth more particularly hereinafter:

A. The allegations of paragraphs I through III, VIII

and X hereinabove are incorporated by reference herein.

B. During incidents numbered 2, 3, 5 & 7 that are get
forth in paragraph X, subparagraph D, hereinabove,

" respondent had patient perform fellatio on him.

C. During incident 2 set forth in paragraph X,
subparagraph D, hereinabove, respondent had intercourse with
patient and also performed cunnilingus upon her.

D. During incident 3 set forth in paragraph X,

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aubparagraph D, hereinabove, respondent had patient perform
fellatio on him on two separate occasions during the orgy,
and on another occasion while respondent was driving his
‘car and patient was a passenger. During this latter
occasion, the fellatio occurred while the car was being
driven down a hill after leaving the orgy.

E. During incident 4 set forth in paragraph X,
subparagraph D, hereinabove, respondent masturbated himself
in the presence of patient.

F. During incident 7 set forth in paragraph X,
subparagraph D, hereinabove, on one occasion respondent
forced the patient to perform fellatio on him.
Subsequently that night respondent broke vials of amyl
nitrite in the face of patient, and again had patient
perform fellatio on him. A little later that night,

__ respondent forced his penis down the throat of the patient
against her will and had forced fellatio with her.
XIII
FOURTH CAUSE OF ACTION

Gross Neqligence in Treatment of Patient R. G.

Respondent's license is further subject to discipline
in that he violated the provisions of section 2960, subdivision
(3) in that he engaged in acts constituting gross negligence;
the details are set forth more particularly hereinafter:

A. The allegations of paragraphs [I to IX inclusive,
and also paragraph X, subparagraphs A, B, C and D,
paragraph XI, subparagraphs A and B, and paragraph XII,

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1 subparagraphs A, B, C, D, E and F hereinabove are
2 incorporated by reference.
3 XIV
4 FIFTH CAUSE OF ACTION
S Dual Relationship - Gross Negligence
8 In Treatment of Patient B.W.
7 The allegations of paragraphs I to III, inclusive and
8 of paragraph IX hereinabove are incorporated by reference
9} herein.
10 . XV
11 Respondent's license is further subject to discipline

12|| in that he violated the provisions of section 2960, subdivision
13 (J) in that he engaged in acts constituting gross negligence,
14 in that he has acted as the business manager, business advisor,
15) executive producer, and co-song writer with his patient while
16 also serving as his therapist; in each of these instances,

17 || respondent has been involved in a “dual”, “triple”, or

18) “quadruple” relationship with his patient, the details of which

19} are set forth more particularly hereinafter:

20 A. During the period of time from 1961 to the

21 present, B.W. has been and continues to be a member of a .
22 musical group. During the period of time beginning on or
23 about January 2, 1983 and continuing to the date of this

24 Accusation, respondent has been treating and continues to
25 treat B. W. (hereinafter the “patient”) as a patient. Said
26 therapy has been conducted 24 hours a day, 7 days a week

27 during said period which is now in excess of five years.

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"

Respondent has employed one or more persons (hereinafter
referred to as “assistants”) who have lived with the patient
and go with him wherever he goes, so that the patient is
“never alone.

B. During the period of time beginning on or about
January 2, 1984 and continuing through and including the
date of this Accusation, respondent has engaged ina
continuous course of conduct of acting in each of the
following capacities for and with patient:

(1) The executive producer of patient;

(2) The business manager of patient;

(3) Co-song writer with patient; and

(4) Business advisor of the patient;
details of which are set forth more particularly in
subparagraph C, below:

~ C. On or about January 1, 1987, a committee was formed
called the Management Advisory Committee of the musical
group. The purpose of said committee is to advise each of
the members of the musical group on various business

decisions. Each member of the musical group appointed a

 

A
person to be his representative on this committee.

Respondent used his influence as the therapist of the
patient to have the patient appoint him, respondent, as the
patient's representative on this advisory committee. Said
committee has continued tg function from January 1987 to and
through the date of this Accusation.

(1) During the period of time between January and

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November 1987, respondent was paid the sum of approximately
$140,000 for serving as patient's advisor on this committee.

Respondent has been paid additional sums (1.25% of the

“revenue of the corporation for the musical group) during

the months of December 1987, and January and February 1988
unknown to complainant. [Complainant will file an amendment
to this Accusation alleging the specific sums for these
additional months when they are known).

(2) On or about October 15, 1987, respondent was paid
the sum of approximately $5,000.00 as the executive producer
of a recording which the patient made for Barbie dolls to be
manufactured by Mattel Corporation.

(3) During the period beginning on or about June 1,
1986 and ending on or about April 1, 1987, songwriter
G.U. (hereinafter “G.U.") spent a considerable period of
time (several hours on several days each week) with the
patient, and some of that time also with respondent. G.U.
and the patient wrote and recorded several songs during this
period. On or about July or August 1986, it was agreed
between respondent, G.U. and the patient that respondent
would receive 25% of any profits “off the top”. The profits
referred to were those anticipated from the record which it
was then hoped would result from the patient-G.U.
collaboration. The specific profits were those anticipated
for songwriter and publisher. It was further agreed that
respondent would be the executive producer of this
forthcoming solo album of the patient, and would receive an

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additional 1% of the profits for this role.

(4) On or about December 1986, the musical group
performed in a concert in Honolulu, Hawaii, which celebrated
their 25th Anniversary as a musical group. This concert was
broadcast on national commercial talevision on or about
March 13, 1987. Respondent acted as the executive producer
for the patient during the rehearsals and the concert and
was given credit on the television program as a special
consultant. .

.(5) On or about January to April 1987, a single
record song by the patient was produced, entitled “Let's Go
to Heaven in My Car”. Said record contains the name of
respondent as executive producer.

(6) On or about the summer of 1985, the musical group
produced a record entitled “The (name of musical group]
1985". Respondent received partial credit for three of the
songs on that album, which are listed below:

(a) “Crack at Your Love” by the patient,
another member of the group and respondent, (Side One);

(b) “I'm So Lonely” by the patient and the
respondent (Side Two); and |

(c) “It's Just a Matter of Time” by the patient
and the respondent, ( Side Two).

(7) During the period 1985 to March 1987, respondent
wrote either all or part of the lyrics or the music with
the patient and (in some cases) others for each of the
following songs:

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(a) ‘Just Say No“;
(b) “Little Children‘;
(c) “Let‘s Go to Heaven in My Car";
(d) “The Spirit of Rock and Roll’;
(@) “Black Widow’;
(£) “I‘m Broke‘;
“(g) ‘Christmas Time’;
(h) ‘Christine’; and
(3) “Baby Let Your Hair Grow Long’.

C. The participation by respondent in the various
dual, triple and quadruple relationships with his patient
has caused severe emotional damage, psychological
dependency and financial exploitation to his patient.

AVI
SIXTH CAUSE OF ACTION

Prescribing of Drugs to Patient B.W.
The allegations of paragraphs I to III and VI and VII,

 

hereinabove, are incorporated by reference herein.
XVII

‘Respondent's license is further subject to discipline,
pursuant to the provisions of section 2960, subdivision (k), in
that he has violated the provisions of section 2904, in that he
has prescribed drugs to patient B.W.; the details of which are
set forth more particularly hereinafter:

A. The allegations of paragraph xv, subparagraph A are

incorporated by reference herein.
B. During the period of time between January 2, 1983

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and the date of this Accusation, respondent has followed the
continuous course of conduct of dealing with the patient's

medication that is set forth in the remaining subparagraphs

" of this paragraph, below.

C. Pirst, respondent has the patient examined by
psychiatrist Sol Samuels, M.D. who then has prescribed
various medications. Respondent obtains the medications
for the patient and has them placed in a locked file
cabinet in patient's house. Patient does not possess a key
to this cabinet, only respondent and his assistants do. On
many occasions, respondent's assistants have carried small
supplies of each of the various drugs in a zippered bag on
their person.

D.. On almost every day of the slightly in excess of
five year period referred to in subparagraph B, hereinabove,
that the patient has been under treatment by respondent,
the procedure outlined in this subparagraph D has been
followed. In the morning, again in the evening, and
occasionally at other times during the day, there are
telephone conversations between respondent and his
assistants. Respondent is told by the assistant the
apparent medical condition of the patient, and respondent
then dictates over the telephone to the assistant which
drugs and in what quantity the assistant should furnish to
the patient. Then the assistant carries out respondent's
instructions and furnishes patient with the drugs and in
the quantity specified by respondent.

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z. None of the several assistants who have been
employed by respondent in this capacity to assist: in the
treatment of the patient during the slightly over five year

" period referred to in subparagraph B, above, have been
licensed, either as physician's assistants, registered
physical therapists, registered nurses, licensed vocational
nurses, peychological interns or on any other capacity.

FP. The decision by respondent of which drugs to
dictate to his assistants to furnish to the patient, under
the circumstances set forth above, constitutes
“prescribing” drugs within the meaning of section 2904 of
the Code.

XVIIT
SEVENTH CAUSE OF ACTION

Gross Negligence in Prescribing
Drugs to Patient B.wW.

Respondent‘’s license is further subject to discipline,
in that he has violated the provisions of section 2960,
subdivision (j) in that he has engaged in acts constituting
grossa negligence; the details of which are set forth more
particularly hereinafter:

A. The allegations of paragraphs I-III, VI, VII, XV,
subparagraph A and paragraph XVII hereinabove are
“incorporated by reference.

WHEREFORE, complainant prays that the Committee hold a

hearing on the allegations sat forth hereinabove, and,
following said hearing, issue a decision:

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1. Revoking or suspending the psychologist’s license

of respondent; or

2. Taking such other and further action as it deems
proper.

DATED: February ES , 1988.

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THOMAS O‘CONNOR ©

Executive Officer

Psychology Examining Committee
Board of Medical Quality Assurance
Department of Consumer Affairs
State of California

Complainant

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